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‘boy THE SHOPS

BED BATH &

Corporate Office 650 Liberty Ave. Union, NJ 07083

4/25/2013

NISHAT CHUNIAN USA INC.AWAMSUTTA
7 WEST 34TH STREET, SUITE 639
NEW YORK, NY 10001

Dear Faiza ,

This letter is to detail our recently negotiated agreement. Unless otherwise stated herein, or in a subsequent writing signed by all affected parties,
this agreement shall apply to all transactions between any of the vendor entities listed below and Bed Bath & Beyond, Inc. or any of its subsidiaries,
including but not limited to Liberty Procurement Co., Inc., Christmas Tree Shops, Inc., Harmon Stores, inc., and buy buy Baby, Inc.

Vendor(s) associated with this agreement (All vendors are associated with the agreement unless noted otherwise):
48747 - NISHAT CHUNIAN USA INC./WAMSUTTA
initial Agreement Term: 4/1/2013 to 12/31/2013

Renewal Term: All terms and conditions set forth herein will automatically renew for successive one year periods unless either party provides
written notica to the other party at least thirty (30) days prior to an automatic renewal that such terms and conditions shall not renew.

Agreement Sections:
Volume Allowance
Start Date: 4/1/2013
End Date: 12/31/2013
Capped or Open: Open Ended
Collection Frequency: Annually
Collection Method: Chargeback
The agreement is based on Receipts - RTVs and minus the following: Markdown Item Rebate, Opening Order Discount
Agreement Tier Structure Type: Back To Zero

Agreement Tiers:
Tier Start Tier End Tier Percentage
| $0.00] | 7.500 %|

Please sign below to evidence your agreement to these terms and retum the signed document to your buyer. Thank you in advance for your timely
response to this cornmunication.

Sincerely,
Leigha Gray
The terms and conditions set forth in the Vendor Compliance Guide and Routing Guide for each BBB affiliated entity will continua to apply to such

affiliate purchases, except to the extent such Guides are inconsistent with the agreement as outlined above.

| have read and agree to the above terms and conditions. If | am signing on behalf of the entity named above, | represent that | am authorized to
bind the entity to this acknowledgement and agreement. | also agree that the above agreement terms shall apply to any BBB affiliated entity that my

Page 1 Agreement Number: 20723

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Corporate Office 650 Liberty Ave. Union, NJ 07083

company does business with in the fulure, unless replaced or superseded by any other written agreement execuied by the parties.

| understand that any funds provided by the above agreement for advertising may be used for markdown support, volume allowance, fixtures,
freight, video monitors or at the discretion of Bed Bath & Beyond Inc. or any of its subsidiaries including but not limited to Liberty Procurernent Co.

Inc., Christmas Tree Shops Inc., Harmon Stores Inc., and buy buy Baby Inc.("BBB"). All other funds provided by the above agreement may be
applied at the discretion of BBB.

S/ 23/2012
Authorized Sighkture Date .
FAI2ZA DLapeen Digectog
Print Name Title

Page 2 Agreement Number: 20723

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Beyond any store of its kind.

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Vendor Compliance Guide

North American Vendors Only

Version 2014
Effective March 17, 2014
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A Corporate Officer or a Principal must sign this acknowledgment and return it to the address listed below. If we do
not receive a signed copy of the acknowledgment, your acceptance of orders will constitute vendor's acceptance of
and assent to the terms and conditions set forth in the Vendor Compliance Guide. Vendor agrees that BB&B may
modify or amend the Vendor Compliance Guide at any time. In the event of such modification, BB&B will notify
vendor 10 days in advance of any such modification taking effect. Vendor's continued acceptance of orders 10 days
after such notice shall constitute vendor's acceptance of and assent to any such modifications.

Company Name: Vendor #:

Signed:

Name: Title: Date:

(Print)

In order to ensure that we have the most up to date contact information, please provide us with a point of contact in
EDI/Technology, main contact, and an executive contact in charge of compliance.

EDI Contact Name: Telephone:

E-mail address:

Vendor Compliance Contact Name: Telephone:

E-mail address:

Executive Responsible for Vendor Compliance Contact Name:

E-mail address: Telephone:

Please send this completed and signed form to the following address:

Bed Bath & Beyond
650 Liberty Ave.
Union, New Jersey 07083
Attn: Supply Chain Performance Department
Re: Vendor Compliance Guide Acceptance
Fax: (908) 688-0413

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1.0 Introduction

Bed Bath & Beyond and its subsidiaries, including Liberty Procurement Co. Inc., buybuy BABY, and Harmon/Face
Values (collectively “BB&B") are dedicated to developing and maintaining strong relationships with its vendors to
assure timely and efficient delivery of merchandise to our stores and customers.

This Guide supersedes all previously issued versions and is effective immediately.

Vendor Compliance is a key component to realizing the following benefits:
e Improved in-stock position

Increased sales and reorders

Shipment visibility

Reduced proof of pickup (POP)/proof of delivery (POD) requests

Improved invoice processing

A dedicated team at BB&B will be responsible for providing assistance to vendors to support the overall success of
the Vendor Compliance Program. The Supply Chain Performance Department will:

e Clearly define requirements

e Actively monitor performance

e Communicate issues and successes

e Partner with our vendors to increase overall compliance

In conjunction with the Vendor Compliance Program, BB&B has developed a cost recovery policy for instances of
non-compliance. Costs were carefully examined to ensure that charges were proportionate to the impact on the
business. The resulting chargebacks are not intended to generate income, but have been established to offset the
expenses incurred by BB&B and to encourage compliance.

BB&B has made and will continue to make a substantial investment of human, financial and technical resources to
improve our supply chain. The implementation of these initiatives will significantly improve the efficiency and
competitiveness of our trading partners. As such, BB&B reserves the right to assess a charge of one percent of all
receipts to help support these initiatives.

Merchandise quality standards, including the BB&B Product Validation Program which includes testing and
inspection, the BB&B Social Compliance Program, BB&B Corporate Policies with respect to merchandise standards,
and other product compliance legal highlights, are now located in the BB&B Quality Assurance Manual.

1.1 Vendor Support

In order to assist vendors in meeting the requirements of the Vendor Compliance Program, the BB&B Vendor
Support Site contains the following features:
e Current version of the Vendor Compliance Guide
Current version of the Quality Assurance Manual
Frequently Asked Questions (FAQ’s) and answers
EDI Mapping Standards
Links for questions and comments
Store listings
New store opening and shipping schedule

For additional support, vendors may contact Vendor Support. Any inquiries, comments or concerns may be directed
to the Vendor Support. The website address and Vendor Support contact information can be found in Appendix D.

1.2 Ethical Conduct Policy

It is the policy of BB&B to conduct all its business transactions in accordance with the highest ethical standards and
all applicable laws (including but not limited to the U.S. Foreign Corrupt Practices Act). No individual who is
employed by or who represents BB&B, and no individual or entity that contracts with BB&B or otherwise performs
services on behalf of BBB, is permitted to solicit, accept, offer, promise or pay any bribe, kickback or any other
improper payment of money, products or services. This includes, but is not limited to, any improper payment in
exchange for (i) BB&B issuance of a purchase order, execution of any agreement, etc., (ii) any action taken by such
individual on behalf of BB&B, or (iii) any action taken by a third party. Any individual or entity having a business
relationship with BB&B shall require any subcontractor (of any level) to adhere to the same standards and are
expected to appropriately monitor their subcontractors to ensure such adherence. If any such improper actions are
observed, please contact our Legal Department (Attention: General Counsel) at 908-688-0888 so that the incident
may be fully investigated and remedial action taken.

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2.0 Technology

2.1 EDI Document Requirements

BB&B requires our vendors to trade business documents utilizing Electronic Data Interchange (EDI). BB&B requires
our vendors to issue and receive the following EDI transactions.

Issue
e 810 - Invoice
e 997 — Functional Acknowledgement
e 856 - Advanced Shipment Notice (ASN)
e GS1-128 Carton Labels

Receive
e 816 - Organizational Relationship
e 850 - Purchase Order
e 860 - Purchase Order Cancellation
e 864 - Text Message
e 997 ~— Functional Acknowledgement

Purchase orders are sent 7 days a week. All cartons shipped to BB&B must have a GS1-128 carton label. Advance
Shipment Notices (ASNs) for all shipments should be sent no later than 2 hours after the shipment leaves your
warehouse. ASNs can be sent prior to the shipment leaving your warehouse. There must be a unique invoice for
each Store Location and Purchase Order. BBB will use the 864 (Text Message) to automate the notification of ASN
and invoice errors. BB&B EDI Mapping Standards are available on the BB&B Vendor Support Site. Please see
Appendix D for EDI contact information and website addresses.

2.2 E-mail Communications

To further both the ease and the effectiveness of e-mail communications of an operational nature, BB&B has
established a specific email address standard for our vendors. Vendors must create a “generic” email address as
follows:

BBBinfo@(your internet domain)
e.g.: BBBinfo@vendor_name.com

Please give access to and/or route this address to the appropriate person(s) in your organization, and keep this
access/routing up to date. Please also ensure that this address is checked daily (at a minimum) for any
correspondence. This will ensure that we can maintain consistent contact despite any temporary or permanent
changes in personnel or responsibilities. It is each vendor's responsibility to implement and utilize this process.
Failure to establish and/or regularly retrieve messages sent to this address may result in compliance failures and
deductions due to missed communications. Vendors utilizing a third party provider to manage outbound shipments,
which may also ship to BB&B for other vendors, must ensure that this email address is unique to their business.

Please create this address within 14 days of receipt of this guide and send an email from this address to Vendor
Support to confirm. ff you have any questions please contact Vendor Support. (Please refer to Appendix D for
Vendor Support contact information).

2.3 Purchase Order, Inventory and/or Warehouse Management System Changes

Vendors must notify BB&B, via e-Mail to Vendor Support, at least 180 days prior to the implementation of any
significant operational and/or informational systems changes, including, but not limited to, Purchase Order, EDI,
Inventory and/or Warehouse Management processes or systems that may in any way adversely impact the vendor's
ability to service BB&B. The purpose of this notification is to ensure that BB&B is aware of the intended change. In
some cases BB&B may contact the vendor for further information. Regardless of the nature of the communication
between BB&B and the vendor, it is essential that the vendor undertake all necessary design, testing,
implementation, and contingency planning steps to ensure that no performance or compliance failures result. The
responsibility of the vendors to meet or exceed all BB&B performance and/or compliance requirements will not be
mitigated as a result of circumstances, foreseen or unforeseen, which may occur during any such implementation.

Please Note: If the pending change involves any shipping or packing practices including, but not limited to a change
in shipping location, the vendor is required to secure written approval from BB&B prior to execution. Should it be
determined by BB&B, that the change will add to its operating costs, or in any other way be disadvantageous fo
BB&B, the vendor will be required to reimburse BB&B (by means of a separate and on-going deduction) for the
amount of the anticipated additional expense or loss.

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3.0 Purchase Orders

3.1 Ship and Cancel Dates (Excluding Store Numbers 8000 - 8999)

Purchase Order Requirements

e Vendors must be able to receive and acknowledge purchase orders sent electronically from BB&B.

e Vendors must ship in accordance with stated BB&B ship and cancel dates (as defined below).

e Goods not shipped within ship and cancel dates may be cancelled at the discretion of the buyer or store.

e« Quantities, styles, colors, sizes and planned assortments must be shipped as indicated on the purchase order.

All BB&B purchase orders will transmit with a ship date and some will also include a cancel date. It is important that all vendors
understand the meaning of these dates as defined below:

Ship Date

This is the date that merchandise should be tendered to the carrier. Orders for existing stores will be considered early and subject
to chargebacks if they are shipped 2 or more days before the ship date. Orders for existing stores that are not shipped within 14
days (ship date plus 13 days) will be considered late and subject to chargebacks or, at buyer's discretion, to cancellation.

e BB&B allows a “15 Day Window” (from 1 day before through 13 days after the SHIP DATE) for (existing store) orders to be
shipped in a “compliant” manner. New Store orders do not have a ship “window” and must be shipped exactly as directed
on our vendor support site (htto://www.vendor.bedbath.com and https://partners.bedbath.com). Please see section 3.3 for
further details.

e Chargebacks will range from 5-20% of the cost of goods in violation. This percentage is based upon the number of days
that a shipment is tendered to the carrier before or after the ship date.

Orders (or parts of orders) that are never shipped are also subject to a charge.

Chargebacks are in proportion to the amount of the order in violation. For example, if 95% of any order is shipped within
the 15-day window, and 5% is shipped outside of the window or not shipped at all, only the 5% portion is subject to a
charge. See Appendix A for chargeback details.

e Under no circumstances should a vendor opt not to ship an order in an attempt to avoid a late shipment charge.
The charge for failing to ship is equal to or greater than the charge for shipping late.

Cancel Date

e Not all purchase orders transmit with a cancel date.

e If the cancel date is less than 13 days after the ship date, vendors are required to ship by the cancel date. If, however, the
cancel date is greater than 13 days after the ship date, vendors are required to ship within 13 days after the ship date.

e If a purchase order does not have a cancel date, the order should be considered valid to ship until the vendor is notified by
BB&B that the order is cancelled. The 15 Day Ship Window and charges for late shipment or non-shipment apply.

3.2 Ship and Cancel Dates for Store Numbers 8000 - 8999 ONLY

Purchase Order Requirements

e Vendors must be able to receive and acknowledge purchase orders sent electronically from BB&B.

e« Vendors must ship in accordance with stated BB&B ship and cancel dates (as defined below).

e Goods not received within receipt and cancel dates may be cancelled at the discretion of the buyer or store.

e Quantities, styles, colors, sizes and planned assortments must be shipped as indicated on the purchase order.

All purchase orders for store numbers 8000-8999 will transmit with a ship date and some will also include a cancel date. It is
important that all vendors understand the meaning of these dates as defined below:

Ship Date

Purchase orders for stores 8000 - 8999 indicate a ship date. “Receipt Date” is calculated by adding 7 days to the Ship Date
indicated on the purchase order. This is the date that merchandise should be received into the store or warehouse. Orders that are
not received within 14 days of the Receipt Date (i.e. 21 days after the ship date) will be considered late and subject to chargebacks.

e Chargebacks will range from 5-20% of the cost of goods in violation. This percentage is based upon the number of days

that an order is received past the 14" day.
« Orders (or parts of orders) that are never received are also subject to a charge.

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e Chargebacks are in proportion to the amount of order in violation. For example, if 95% of any order is received within the
14-day window, and 5% is received outside of the window or not received at all, only the 5% portion is subject to a charge.
See Appendix A for chargeback details.

Cancel Date

Not all purchase orders transmit with a cancel date.

» {fthe cancel date is less than 14 days after the Receipt Date, the merchandise must be received by the cancel date. If,
however, the cancel date is greater than 14 days after the Receipt Date, the merchandise must be received within 14 days
after the Receipt Date.

« |fa purchase order does not have a cancel date, the order should be considered valid to ship until the vendor is notified by
BB&B that the order is canceled. The receipt window and charges for late receipt or non-receipt apply.

3.3 New Store Purchase Orders

e {tis sometimes necessary for BB&B to change a New Store ship date after a purchase order has been released. It is
therefore necessary for vendors to confirm New Store ship dates on a regular basis. In addition, vendors should validate
the ship date one business day prior to releasing their New Store shipments to ensure the date is still valid for each
location.

¢ All (initial and subsequent) New Store Orders must be shipped on the “exact” date (if shipping Prepaid or Collect direct to
store) or “week of” date (if shipping via consolidator or direct to pool) noted on the New Store Shipping Schedule. There
is no “ship window” specific to new store orders.

« A New Store Order cancellation may be received by a vendor via EDI 860 transmittal, fax or email. Please carefully review
any change request received via fax or email in order to confirm a PO change is not misconstrued as a total PO
cancellation.

e If a portion of merchandise specific to a New Store Order is not available to ship on the prescribed ship date noted per the
New Store Shipping Schedule, please ship the available merchandise on the prescribed ship date and ship the balance as
it becomes available.

e Chargebacks will be assessed for early or late shipments. See Appendix A for chargeback details.

3.4 Backorders

if there are items on the purchase order that will not be sent with the initial shipment, the vendor should consider the order active
and ship the backorder until it has been canceled by BB&B. The same rules for late shipment and/or non-shipment apply as stated
above. PLEASE NOTE: Backorders are not permitted for purchase orders from store numbers 8000 - 8999.

3.5 Ship Complete Flag

Purchase orders that are identified as “ship complete” must be shipped 100% complete and on time. if the order cannot be
shipped complete within the 15-day window contact the buyer for shipping instructions. Partial shipments on orders designated as
“ship complete” will be subject to chargebacks if written approval is not received from the buyer prior to shipment. See Appendix A

for chargeback details.
NOTE: THIS SPECIFIC CHARGE REFERS ONLY TO ORDERS WITH THE “SHIP COMPLETE FLAG” IN THE HEADER (see

the Corporate EDI Mapping Standards on our web-site listed in Appendix D for details).. BB&B EDI Mapping Standards are
available on the BB&B Vendor Support Site. Please see Appendix D for website addresses.

3.6 Purchase Order Changes

Changes or cancellations to purchase orders must be honored by the vendor prior to the point that vendors establish a pickup
appointment for the purchase order.

3.7 Cancelled/Substituted/Unordered Merchandise

Additional, unordered, substituted or cancelled merchandise that is shipped will result in chargebacks, and may be subject to return
or refusal at the vendor’s expense. See Appendix A for details.

3.8 Samples

Merchandise Samples
e BB&B does not pay for merchandise samples, even if samples are sent in response to a request by BB&B.

Display Samples
e BB&B does not pay for display samples.

Sample Retums
e Arrangements must be made with the buyer for sample returns.
e Vendors must issue a call tag along with samples.

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e Vendors are responsible for all freight charges for sample returns.
3.9 Special Orders / Custom Orders

BB&B takes great pride in its customer service and assortment. BB&B offers the option of “Special Order” items to our customers to
increase the breadth and attractiveness of our product offering. Special Orders are paper PO’s faxed to the vendor by each store.
The PO will say “Custom Purchase Order” on the top of the PO as shown in the example on page 8. These Special Order items are
typically not available in store as part of our everyday assortment. Because special orders require a certain lead time to fill,
they are subject to a different set of shipping, invoicing and carton labeling rules.

Shipping Special Orders

The “Ship Date’ is the latest date that merchandise shouid be tendered to the carrier. Special Orders will be considered late if they
are shipped after the “Ship Date.”

Please note that because these orders are time-critical, it is the vendor's responsibility to provide a reliable estimate of
lead time in order to meet customer expectations.

e Vendor “Ship Date” is mutually agreed to by the BB&B buyer and vendor. “Ship Date” reflects MAXIMUM lead time
vendor requires in order to ship the product.

« The Special Order Associate will follow up with the vendor via fax to confirm the “Special Order.”

« Vendor will need to get back to BB&B within 3 days of PO creation if they are not going to meet the expected ship date
and/or if the PO cost is incorrect. Otherwise, it will be assumed that the order is valid. BB&B reserves the right to cancel
the order within 3 days of PO creation.

e Vendor may ship anytime before the ship date. Early and complete shipments are preferred.

« Chargebacks will reflect 20% of retail price in the event that the product arrives damaged or ships after the PO ship date.
This is to cover the costs of customer accommodation that BB&B incurs.

For orders not shipped complete by the ship date, chargebacks will be assessed on the remainder of the order.

e Under no circumstances should a vendor opt not to ship an order in an attempt to avoid a late shipment charge.

The charge for failing to ship is equal to or greater than the charge for shipping late.

Special orders that are not shipped on or before the ship date will be considered late and subject to chargebacks or, at BB&B's
discretion, to cancellation. Please note that receipt of damaged product may also compromise customer expectations. It is critical
that these products arrive in damage-free condition. Chargebacks will be assessed for late or damaged shipments. See Appendix
A for chargeback details.

EDI Compliance for Special Orders

All vendors are required to be ED! compliant with regards to GS1-128 labeling, sending ASNs and invoicing. In the event that a
vendor cannot be compliant for a non-EDI special order, the vendor should follow the below procedures for carton labeling and
invoicing.

Invoicing Special Orders

The attached Special Order PO example highlights the 4 fields that MUST be included on and consistent with all invoices for
Special Orders:

1. PO#

2. Store # that placed the order

3. UPC number of the item being ordered as it occurs on the PO

4. Cost from PO

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Page: 1 BED BATH & BEYOND 1/10/11
CUSTOM PURCHASE ORDER (VENDOR) 11:03:51

PURCHASE ORDER #: FU72638 € #}

Release date: Estimated ship date:

VENDOR: BABY APPLESEED /NURSERY SMART SHIP TO: Addigon bbBaby

Address: 15269 DON JULIAN ROAD Address: buy buy Baby Store #3027 & 12
. 13900 Dallas Parkway
City: CITY OF INDUSTRY City: Dallas
St/Pr: CA Zip/Postal Code: 91745 St/Pr: TX Zip/Postal Code: 752404323
Country: U.S.A. Country: U.S.A.

Phone: 972-386-6809 Ext:

upc / VENDOR PART NUMBER QUANTITY cosTr
DESCRIPTION
wD
444444002754 2441191609 1 #4 > 159.990

DAVENPORT NIGHTSTAND-EXPRESSO

TOTAL EXTENDED QUANTITY / COST: 1 159.990

VENDOR NOTES:

Buy Buy Baby-S0302712345678

PLEASE NOTE:

By shipping this order, Seller expressly agrees to indemnify, defend, and hold

Buy Buy Baby harmless, and to pay all of Buy Buy Baby’s expenses and legal fees
relating to any claim, defense, settlement, and /or judgement on any allegation
that the product above(i)violates any intellectual property right or any law

or safety regulation or(ii) has caused injury to any to any person or propety.

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Carton labeling for Special Orders

All cartons received for Special Orders should have an ORANGE label with the following information:
Vendor number

PO #

Customer name (taken from middle of BB&B PO under “Notes”)

UPC number as it occurs on the PO

Item Description

APRwWN>

3.10 Advertised, Seasonal, or “Time-Sensitive” merchandise

BB&B takes great pride in its customer service, and an integral part of customer service is being appropriately stocked on
advertised, seasonal, or other “time-sensitive” items. lt is essential that vendors ship these items complete and “on time”. BB&B
may at its discretion choose to expedite late shipments to ensure timely receipt at the store. Any additional expediting costs made
necessary by the vendor's failure to ship on time will be the responsibility of the vendor. See Appendix A for further details.

4.0 Merchandise Quality Standards / Corporate Policies

Vendors must comply with all Federal, state/provincial and local laws, rules, guidelines and regulations in each jurisdiction in which
BB&B conducts business including the United States, Mexico and Canada as per the BB&B terms and conditions set forth in
Appendix C. In addition to legal compliance obligations, every vendor must comply with quality standards and corporate
merchandise policies established by BB&B. BB&B is constantly looking for ways to improve in the area of corporate responsibility.
In connection with this effort, we encourage our vendors to adopt a comprehensive program of responsible practices and to prepare
a corporate responsibility (or “sustainability”) report if they do not already do so.

Merchandise quality standards, including the BB&B Product Validation Program which includes testing and inspection, the BB&B
Social Compliance Program, BB&B Corporate Policies with respect to merchandise standards, and other product compliance legal
highlights, are now located in the BB&B Quality Assurance Manual.

5.0 Item Information / “Floor Ready” Requirements

§.1 Item Set Up

Vendors are required to completely, accurately and timely provide all requested product/item information to support the most efficient
item set-up, distribution, advertisement and sales. The Vendor Item Set-Up Worksheet is used to collect product/item information.
When (i) a new item is added to our assortment or (ii) an existing item requires updated or additional information, the Merchandise
Data Operations team will email to you a Vendor Worksheet. Item(s) cannot be created in our systems until the completed Worksheet
has been submitted and validated. Any delays will negatively impact our ability to place orders and sell your products in our stores,
web sites and/or other selling platforms.

e Vendors must provide complete, accurate and timely information for all data elements requested on the Vendor Worksheet
— this includes, but is not limited to, item attributes, international certifications, product dimensions etc.
e Vendor must return the completed worksheets within 3 business days of request.

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e Product images must be uploaded within 3 business days to our FTP site per the instructions provided and meeting our
specifications as outlined in the instructions.

« Information and/or image requests that are not submitted (or not accurately submitted) within the 3 business day window
may be subject to a chargeback at a rate of $5.00 per UPC per day.

e Ifa Vendor ships merchandise to any eCom fulfillment locations (653, 655, 657) but has not provided all requested product
information, images and/ or samples to enable on-line selling, BB&B reserves the right to return all such products to the
Vendor for full merchandise credit plus all related shipping, handling and carrying costs, as well as reimbursement for lost
sales if thirty days have elapsed from the original request date or the original shipment (whichever is later).

§.2 Item Ticketing Requirements

BB&B requires a scannable UPC/EAN code with human readable characters on all items. in addition, BB&B may require Vendors
to attach an approved retail price to certain items. BB&B buyers will specify products that require retail ticketing and provide
specifications.

The following information must be found on all items:

e UPC/EAN bar-code and number with human readable characters
e Item description (i.e. supplier style, size, color, etc.)

Our ticket requirements should not act as a replacement for any statutory or other legally required labeling, including but not limited
to:

Care labeling

Hazardous labeling

Country of Origin labeling

Labeling identifying the supplier by full corporate name, street address, city, state and zip code (unless
instructed by BB&B to list Bed Bath & Beyond ®, Union NJ 07083 as the distributor)

e Labeling with accurate declaration of net weight, measure and/or count, as applicable

§.3 UPC/EAN and Bar-code Requirements
e 100% accurate UPC/EAN to be provided to BB&B prior to the creation of a Purchase Order
All individual retail selling units to be marked with a scannable UPC/EAN bar-code
All UPC/EANs must meet requirements set by GS1
Unique 12 digit UPC-A or UPC-D bar-code, or Unique 13 digit retail EAN bar-code
An individual retail-selling unit is defined by a specific combination of style, size, color, etc

Vendors without the ability to create barcode labels may contact a supplier such as W-Print and r-Pac purchase labels. See
Appendix D for contact information.

Bar-code Requirements are as follows:
Q Minimum of 13 Mils no less than 80% coverage including quiet zone

Diagram 4.0
UPC Bar-Code Sample

| | Check Digit

cwereeennonennnt
— Product number

Company Prefix

Updating UPC/EAN

Changes and/or additions to UPC/EANs must be communicated, in writing, to the buyer twenty-one (21) days before the
merchandise is shipped.

Placement

When unit retail price tickets are not required, all UPC/EANs should be placed on the back lower right hand corner, or where
appropriate for that type of product. If hangtags are used, they must be attached with a “locking” nylon attachment. The UPC/EAN
should not be placed over important information, such as style number, size, color, etc. See diagram 4.0.

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§.4 Pre-ticketing Requirements

Please visit the Packaging and Labels tab on the Vendor Support Site (web address located in Appendix D) to review our pre-
ticketing (with retail price) requirements. Please follow the “price ticket and label specs” link to review our ticketing specifications for
each type of merchandise. Please also review the “No Price Ticket Items” section for a list of merchandise categories which are not
to be ticketed with retail prices. Please contact our Packaging Group with any questions. (Please see Appendix D for contact
information.)

ALL PRIVATE LABEL product that is made expressly for BB&B or made exclusively for BB&B MUST be pre-ticketed. The only
exception to this would be if an item falls under a No Price Ticket area of the store. Hangtags should be priced on the back side
and done as a perforation at the bottom.

§.5 Packaging and Labeling Requirements

Please visit the Packaging and Labels tab on the Vendor Support Site (web address located in Appendix D) to review our “shelf
ready” packaging and labeling requirements, as well as contact information for approved label and package suppliers.

In addition, vendors supplying merchandise for any of the categories shown below must also download the associated Bag and/or
Labeling specifications and ensure that all of requirements are met.

Categories with “Bag” Specifications

Categories with “Label” Specifications

Duvets
Standard, King and Euro Sham

Comforter Mini Set Comforter
Drapery Large, Drapery Small and Mini Drapery

Foam Mattress Pads, Mattress Covers

Tablecloths, Dining Room Chair Covers

Sheet Sets, Open Stock Sheets, Pillowcases Sheet Set

Solid Comforters Bed Set and Complete Bed Set
Fashion Bedding Bed Set and Complete Bed Set Duvets

Birdie Template-Bed Set and Complete Bed Set Duvet Mini Set

Black and Tan-Bed Set and Complete Bed Set Euro Sham

Promo Bedding Bed Set and Complete Bed Set, Super Set Bed Skirt

Comforter Ensemble, Complete Bed Ensemble and
Comforter Mini Set

Free Standing Standard Sham and Euro Sham Comforter
Bed Skirts, Free Standing Bed Skirt Generic Drapery
Juvenile Comforter Ensemble, Complete Bed Ensemble and Bianket

Quilt, Coverlet
Oversized Label

CFB Drapery (Drapes that coordinate Fashion Bedding) Quilt Set
Blankets, Throws Quilt Mini Set
Quilts, Bedspreads, Coverlet, Daybeds Bedspread
Mattress Pads, Pillow Protectors, Fiber and Feather Beds, Daybed

Additional Packaging Specifications

Die Line Guide

Photography Bedding Requirements
Generic Hangtag

Peggable Wall Packaging Specs
Decorative Pillow Requirements
Window Hardware

Napkins Sold in Sets of 2

Napkins Sold individually

Napkins Ring Hangtag

Runner, Placemats, Kitchen Rugs
Kitchen Textiles/Hangtags

Aprons

Area Rugs

Decorative Accent Rugs

Doormats

Frames, Photo Albums, Clocks, Mirrors, Wall Décor
Closet Wall Packaging Spec

OTD Door Hook Packaging Spec

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Exhibit A

5.6 Apparel Hanger Requirements

The BB&B apparel Hanger Program is designed to ensure that apparel merchandise is received in a uniform fashion, pre-hung and

floor ready. All apparel is to arrive on white opaque polypropylene hangers with child resistant size tabs attached to each hanger. It
is the vendor's responsibility to purchase and apply the hanger and associated tab prior to shipment. Failure to pre-hang according
to BB&B floor ready specifications will result in a vendor chargeback of $0.40 per unit.

Note that if the vendor is shipping organic product, they are welcome to provide an eco-friendly alternative to the buyer for approval.
Piease also note that any print or logos on the hanger should be pre-approved by the buyer.

Expected standards for hangers by product use and size tabs

Hanger style description

are listed below.

Product Uses

Description

General Clothing

8” Top Hanger
10” Top Hanger
42" Top Hanger

15” Outerwear

2 Piece Sets 10” Set With 7” Drop
8” Snap-on bottom hanger with 7” drop snap loop
connector
8" Snap-on Pinch Clip Bottom with 4” drop
Swimwear 10” Frame Set
2 Pack Tees 10” Double Top Hanger With Snap Loop Connector
Pants/skirts 8” Pinch Clip
8” Bottom with Prongs
Blankets 4,5”, 6”, or 8 Hanger w/ Split Bar

8" 2 Tier Hanger

2 pack Bodysuits/Gowns

8.5" 2 Tier Hanger w/ Standard Hook

5 pack Bodysuits

8.5” 5 Tier Hanger w/ Standard Hook

All sized items

Size tab

Note: Where two or more hanger options are provided for

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each product use, any option may be used

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Size tab description
Size tab Description
SMALL Small
MED Medium
LARGE Large
XL X-Large
2T 02 Toddler
3T 03 Toddler
4T 04 Toddler
S4 Small 4
SO/EMOS Small 0-6 Months
3MO0S 3 Months
3/6MOS 3-6 Months
6MOS 6 Months
6/9MOS 6-9 Months
9MOS 9 Months
12MOS 12 Months
$12MO0S Smail 12 Months
M1208 Medium 12 Months
12/18MOS 12-18 Months
{8MOS 18 Months
M18MOS Medium 18 Months
L18MOS Large 18 Months
18/24MOS 18-24 Months
24MOS 24 Months
24MOS2T 24 Months 2T
L24MOS Large 24 Months
XL24MOS X Large 24 Months

Please note: The hanger requirements illustrated above are minimums. It is at the vendor's discretion to determine

whether a larger hanger is necessary based on the actual size of the garment.

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oe “yh

10” Set with 4° Drop 10”Frame Set

8” Top Hanger
10” Top Hanger

8” Pinch Clip
[2" Top Hanger I
15° Outerwear
cA
8” Bottom 8” Snap-on Pinch Clip

Bottom with 4” drop

with Prongs

10” Double Top

8.5” 2 Tier Hanger w/
Hanger with Snap 6

4 Standard Hook
Loop Connector

4.5” Hanger w/ Split
bar
ene 8° 2 Tier Hanger | (00 | 6” Hanger w/ Split
I ~ ) Bar
: 8” Hanger w/ Split

8” Snap-on Bottom
Hanger with 4” Drop
Snap Loop Connector

8.5” 5 Tier Hanger
w/ Standard Hook

Size Tab

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5.7 Floor Ready Clothing Requirements

Product that the buyer communicates is going to be merchandised as FOLDED must meet our FOLDING GUIDELINES. The buyer
will communicate folded size dimensions and must approve a picture of a folded garment meeting those requirements. !n addition,
all folded product is required to have a SIZE STICKER which must be approved by the buyer for both packaging and placement on
the garment. Failure to follow folded guidelines will result in a charge of 25 cents per unit to cover additional ticketing and labor for
the stores."

Sticker placement guidelines for “BE BASIC” branded products

Please note these instructions are for FOLDED product only. The buyer must approve folding on all folded programs as there may
be exceptions to below guidelines.

FOLDING
Tops
e General guideline, tops are folded with both sides folded in first then the length is folded in.
* Total measurement for width is 6.5-7" wide. Total measurement for depth is 8.5-9".
e« In most cases, all sizes up to 24M should be folded first with ~4" flap remaining on bottom fold for majority of graphic to be
seen.
Bottoms
e General guideline, bottoms are folded so that right side of the back is facing front.
e This also allows for hangtag to easily be seen by the customer.
e Bottoms should be folded so that the total length of the folded item is no more than 9-9.5" depth on shelf.
e In most cases, all sizes up to 24M should be folded exactly in half.
e For sizes 2T+, the cuff should be folded up SLIGHTLY (3 - 4"), then the remainder of the pant should be folded in half.
e For capri-length, or anything that does not fit this guideline, please consult with buyer for approval.

SIZE STICKERS
Tops
e The 6" length size sticker should be placed 1/4" - 1/2" from edge of leg and 4" of the sticker must be shown along the front
foid.

Bottoms
e {f pant has a back pocket, size sticker should be placed 1/4" - 1/2" from edge of leg. Left side of sticker should touch the
edge of the pocket.
e If pant DOES NOT have a back pocket, the 6" length size sticker should be placed 1/4" - 1/2" from edge of leg and 4" of
the sticker must be shown along the front fold.

5.8 Diaper Bag Requirements

Diaper Bags must be shipped, stuffed with paper. There will be no display devices to hold the bags up on the shelves.

§.9 Tri-Lingual Textile Labeling

BB&B requires that all textile products supplied to it include tri-lingual (English, French, and Spanish) care instructions, fabric
content and country of origin information labels.

Please Note: This tr- lingual requirement is in addition to any labeling requirements applicable to your product under and Federal,
state/provincial, municipal, and local laws and regulations in every country in which BB&B conducts business including the United
States, Canada and Mexico. Please see section 14 and Appendix E for additional details.

If any non-conforming merchandise is shipped to BB&B, vendors will be required to take all corrective measures necessary, as
directed by BB&B, and will also be required to reimburse BB&B for any associated labor, administrative or other costs. BB&B may
opt, at its sole discretion, to return any such items to the vendor in lieu of requiring the vendors to correct the deficiency or if the
vendor's efforts to correct the issue are deemed insufficient. Any such returns will be pursuant to the policies outlined in this
document for “Defective Items” in section 9 and Appendix E — Terms & Conditions.

§.10 Product Information Included INSIDE the Package - Tri-Lingual Requirement

BB&B requires that all merchandise which includes any form of written material inside the shelf level package, included but not
limited to, “user manuals”, “installation instructions” or “warnings”, contain such verbiage in English, French & Spanish. Additional
languages are permissible provided that the information is presented in such a manner that it is clear and understandable in each
language.

The English text must be displayed first. It is preferable, though not required, that the text is displayed in one language completely
before transitioning to the next language, rather than alternating sentences or paragraphs among the languages.

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Vendors must ensure that all translations are technically, contextually and colloquially accurate, and must utilize qualified individuals
for such translation services. Automated translation services, software or web-sites are not acceptable. One qualified translation
resource known to BB&B is:

RR Donnelley

Global Translation Services

(212) 341-7772

TMC_Global@rrd.com

Contact: Anna Gargiulo (anna.gargiulo@rrd.com)

Vendors may contact RR Donnelley or another qualified provider of their choosing if translation services are required.

If any non-conforming merchandise is shipped to BB&B, vendors will be required to take all corrective measures necessary, as
directed by BB&B, and will also be required to reimburse BB&B for any associated labor, administrative or other costs. BB&B may
opt, at its sole discretion, to return any such items to the vendor in lieu of requiring the vendors to correct the deficiency or if the
vendor's efforts to correct the issue are deemed insufficient. Any such returns will be pursuant to the policies outlined in this
document for “Defective items” in section 9 and Appendix C ~ Terms & Conditions.

5.11 E-Commerce Location (store numbers 653, 655, 657, 3653, 3655) Packaging and Labeling Requirements

Note that the BB&B E-Commerce locations (store numbers 653, 655, 657, 3653, 3655) have certain packaging and labeling
requirements fo facilitate warehouse stocking and receiving:
e Masterpacks should indicate the quantity on the outside of the carton. There should not be a UPC barcode on the outside
of the carton, which could potentially be scanned. This is in addition to the use of a compliant UCC128 label.
e Eaches should have UPC barcodes on the outside of carton, so the carton can potentially be scanned and stocked without
breaking down packaging. This is in addition to the UCC128 label.
e All soft good products that are not in external, floor ready packaging should be individually polybagged to facilitate
receiving and storage at the warehouse facility. Note that this is not a requirement or preferred for our store
locations.

§.12 Source Tagging

BB&B has installed electronic article surveillance (EAS) devices in all stores. We have selected radio frequency (RF) with
Sensormatic to implement this strategy. All products identified by BB&B as “high theft’ should be EAS source-tagged by the vendor.

Benefits
e Protected product flows directly to sales floor
e No external tags to deface product
e Product is tagged in consistent location
e EAS deactivation occurs with bar code price scan
e Reduced out of stocks = Increased sales
e Reduce theft
Source Tagging Guidelines
« All products viewed as high-theft should be source-tagged
e Tags must be concealed in the primary package
e Tags used for store locations 8000-8999 must be Sensormatic manufactured tags

5.13 Consumer Display Unit (CDU)

Vendors must follow the requirements below for communicating item content information and shipping of Consumer Display Units.

Vendors must supply a CDU UPC for ail CDUs that will be ordered by BB&B.

e CDUs will be ordered using the CDU UPC.

e CDUs must be packed in a separate shipping carton containing only the CDU. Non-CDU merchandise can not be shipped
within the same shipping carton as a CDU. All CDUs must be clearly labeled identifying that the contents are part of a
CDU with the CDU UPC barcode easily identified and available to scan. CDUs must be clearly identified so they can be
received as a single unit (CDU).

e Vendors must send the ASN and invoice using the CDU UPC.

e Substitutions to the CDU assortment (UPCs & quantities) are not allowed.

e Vendors are not allowed to make any changes to the CDU assortment (UPCs & quantities) without coordinating that with
the buyer prior to shipping. Any changes to the CDU contents must be updated in the BB&B system after all CDUs with
the original assortment have been received and prior to the new assortment being shipped by the vendor.

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6.0 Freight Tender / Routing Instructions

Please see the Vendor Routing Guide, available at the Vendor Support Site (web address located in Appendix D), for all details
concerning freight preparation, tender and routing.

6.1 Changes to the “Nature” of Shipments;

Vendors are required to provide BB&B a minimum of 180 days notice prior to and receive written approval from BB&B prior to the
implementation of any of the following:

e Relocation, addition, or discontinuation of any shipping facility

e¢ Shifting distribution of specific product(s) from one existing facility to another
e Change in case pack quantity

¢ Implementation or discontinuation of “pick and pack” process

Vendors must inform their buyer, and copy Vendor Support (see Appendix D for contact information), of their proposed intentions
via email. Failure to contact and secure written approval from either party may result in chargebacks. See Appendix A for further

details.

Should it be determined by BB&B, that the change will add to its operating costs, or in any other way be disadvantageous
to BB&B, the vendor will be required to reimburse BB&B (by means of a separate and on-going deduction) for the amount
of the anticipated additional expense or loss.

7.0 Invoicing

In order to facilitate timely payment, vendors are required to transmit invoices electronically (EDI 810). Upon testing and
certification of the vendor's electronic capability, the Accounts Payable Department will no longer accept or process paper invoices.
If paper invoices are received, vendors will be contacted to resubmit the invoices electronically, and payment will be suspended until
an electronic invoice is received and processed. Please see Appendix D for EDI contact information.

7.1 Invoice Requirements

e BB&B Vendor ID number as it appears on the Purchase Order
A unique invoice number (12 alpha numeric characters maximum) for each store location and Purchase Order number.
Do not include punctuation or special characters or reuse any invoice number within a 36-month period. Do not combine
Purchase Order numbers and/or store locations on the same invoice.

e invoice Date

e Store Number

e Invoices must include the 7 character alphanumeric BB&B system generated Purchase Order number. Purchase Order
numbers may not be modified in anyway, it will cause the invoice to be rejected.

e Quantity shipped by UPC / Unit item cost / Unit of measure code / Total invoice cost

e All costs including baseline items should not exceed 2 decimal places.

e Discount if applicable (The reason for any discount deducted, must be clearly stated. The credit code for the appropriate

discount being deducted must be transmitted via EDI. Consult the BB&B Corporate EDI Mapping Standards for allowed

codes.)

Freight Terms (Collect or Prepaid) / Carrier name

Total cartons shipped

PRO #/BOL #/Tracking #

Vendors must send one invoice per shipment (Purchase Order, store, ship from location) per day.

Please note: The invoice date must not precede date shipped for “freight collect’ shipments nor the date delivered to BB&B for
“pre-paid” shipments. Invoices with incorrect invoice dates are subject to correction and chargebacks. Please see Appendix A for

further details.

Additional Invoice Requirements
The unit cost on the invoice must not exceed the unit cost listed on the Purchase Order. BB&B will not recognize any Vendor price

increase subsequent to the order date of the BB&B Purchase Order.

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7.2 Vendor Updates
Liberty Procurement Co. must be notified immediately of any changes to vendor information. This includes, but is not limited to:

Changes to “remit to” address

Start, change, or discontinuation of a factoring relationship
Change in company name

Change in company ownership

Change in “Return to Vendor’ address

Change in vendor contact

Changes must be sent in writing to the Liberty Procurement Co. (Buying Office) Attn: “Buyer's Name” (See Appendix D for
address)

With a copy to the Accounts Payable Department / Vendor Relations (See Appendix D for address)

Updates regarding factor information must include:
e Written confirmation from the factor terminating the factoring relationship.
e Written notification from the new factor (if applicable) regarding the new factoring relationship.
e Applicable dates and authorization to release payment to the new factor.

BB&B reserves the right to place vendor accounts on hold pending receipt of this documentation.

Do not send any vendor updates to Store locations, as store level personnel cannot approve vendor changes.

7.3 Allowances and Rebates

e All allowances and rebates are negotiated between the buyer and the vendor.
7.4 Discounts

BB&B to Deduct
e BB&B will deduct general discounts, based on negotiated terms off of the gross invoice amount.

Vendor to Deduct
e Ageneral discount, which will be deducted by the vendor, must be deducted as a separate line item off the gross invoice
amount. In addition, the reason for the deduction must be clearly stated on each invoice. When transmitting invoices via
EDI, the credit code for the appropriate discount being deducted must be transmitted. Consult the BB&B Corporate EDI
Mapping Standards for allowed codes at our Vendor Support Site (web address located in Appendix D).

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8.0 Remittance Advice

BB&B will issue a single corporate check for multiple invoices. The following information will be found on BB&B’s check and
remittance advice:

BB&B Vendor Number

Vendor and/or Factor name

Check number

Check date

Invoice number (Vendor or BB&B generated) Debit or Credit
Invoice Date

BB&B Purchase Order Number (if applicable)
BB&B Store Number

Chargeback associated to the invoice
Descriptive Notes

Gross Amount of invoice/debit

Discount -based on negotiated terms

Net amount of invoice/debit

Vendor/Factor remittance address

An example of the remittance advice is provided below:

OF RATH 8 BIE Vendor ### Check#: 12345
Vendor Name Check Date: 01/04/00
Invoice Invoice Purchase Store Description Invoice Discount Net
Number Date Order # Amount Amount Amount
REMITTANCE ADVICE
PLEASE DETACH BEFORE DEPOSITING TOTALS

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9.0 Return to Vendor Policy

This section details the terms and procedures for defective and damaged merchandise, product recalls and other authorized
returns.

9.1 Defective/Damage Return Policy

Individual buyers will establish the most appropriate return policy for each vendor. Policies include “deduct and dispose”, “returns
allowed with blanket RA”, “returns allowed — authorization required” and “damage allowance”. Whichever policy is chosen, the
vendor will be responsible for “damages”, which are defined as manufacturer defect, poor quality merchandise or packaging,
customer returns deemed not sellable as first quality, or merchandise otherwise deemed not sellable in the ordinary course by store
personnel. The most cost effective and efficient processing method is a “deduct and dispose” policy. This policy reduces the freight,
handling, disposal and processing charges that would otherwise be charged to, or payable by, the vendor. Under this policy, BB&B
determines if an item is damaged, and the vendor will be assessed a deduction equal to the cost of the damaged item, plus an
inbound freight charge (if freight is not prepaid by the vendor) and a nominal handling fee. The damaged item may be destroyed,
donated to charity or sold “as is” at a liquidation price, depending on the condition of the item. If the applicable policy is “returns
allowed with blanket RA”, vendor provides BB&B with a blanket RA number to be used for all returns. BB&B can then return product
it deems damaged without requesting authorization. Vendor will be assessed a deduction equal to the cost of the damaged item,
plus an inbound freight charge (if freight is not prepaid by the vendor), outbound freight and a nominal handling fee. If the applicable
policy is “returns allowed — authorization required’, vendors are expected to respond in a timely manner to requests for approval of
returns. All requests will be “batched” by our corporate office and sent to the vendor. Vendor responses should be faxed to the
individual stores. If merchandise is returned, the vendor will be assessed a deduction equal to the cost of the damaged item, plus
an inbound freight charge (if freight is not prepaid by the vendor), outbound freight and a nominal handling fee. If, in lieu of return,
authorization is given to dispose of the item, or if a response giving appropriate direction is not received within 21 days of the
original request, the merchandise will be processed under the “deduct and dispose” policy and the vendor will be assessed a
chargeback equal to the cost of the merchandise, plus an inbound freight charge (if freight is not prepaid by the Vendor) and a
nominal handling fee. Under a “damage allowance” policy, the buyer and vendor will negotiate a damage percentage, which will be
deducted from each invoice. The damaged merchandise will be processed in the same manner as the “deduct and dispose” policy,
and vendor will be charged for inbound freight (if freight is not prepaid by the vendor) semi-annually when reconciliations are
performed. If reconciliation reveals actual damages in excess of the allowance, vendor shall be responsible for such excess, unless
otherwise agreed to in writing by BB&B and vendor.

9.2 Locations outside the Contiguous 48 United States

Due to the high shipping costs incurred when freight is returned to vendors located within the contiguous 48 United States from
BB&B locations outside of the contiguous 48 United States (such as Alaska, Hawaii, Puerto Rico, Canada, Mexico, etc.), BB&B
processes ail returns from these locations via the “deduct and dispose” policy for such vendors to whom those goods would
otherwise be returned. This policy is in place to reduce the freight costs charged to our vendors.

9.3 Defective Merchandise / Recalls

When all or a significant portion of a product line(s) is defective, substandard, unsafe, not in compliance with BB&B company
policies described herein, or not in compliance with law, all units may be recalled from the stores. Vendors will be charged back for
the cost of the merchandise, and shall be responsible for all freight and handling charges for the merchandise. In addition to all
other rights and remedies BB&B may have under applicable law, including the right to recover its lost sales, BB&B may also charge
vendor 20% of the cost of all such goods to offset the expenses that may arise from excess floor moves and customer
dissatisfaction.

9.4 Hazardous Products
BB&B will process returns under the “deduct and dispose” policy in cases where products with chemical content (or which are
otherwise regulated) cannot be returned to you due to transportation restrictions for damaged products with chemical content (or

which are otherwise regulated) even if the vendor policy requires a return for credit. Any incremental costs incurred by BB&B as a
result of the management, administration, or disposal of such hazardous products will be charged back to the vendor.

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10.0 Dated Product Processing Guidelines

The table below outlines BB&B’s policy for products that expire. Goods that are to be received with less than the required dating

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may be refused or received and subsequently returned by the warehouse or store. Vendor will be responsible for all returned freight

charges on short dated products.

Company Policy for Auto Refuse:

Product/Category minimum allowable timeframe
until expiration date
Formula:
Ready to Feed 6 months
Powder 9 months
Wipes 6 months
Food:
Infant baked goods (cookies,
crackers, biter biscuits) 6 months
Infant purees, entrees, and jars 9 months
Canned meals 9 months
Snacks (excluding chips) 4 months
Chips 4 months
Cereals 6 months
Mints / Candy / Gum 4 months
Water / Juice 6 months
Home Remedies:
Analgesics 18 months
CoughiCold Products 18 months
Stomach 18 months
Diet Product:
Pills and Tab's 18 months
Bars 9 months
Drinks 18 months
| Diabetic / Nutrition:
Liquid 18 months
Bars 9 months
| Dental:
Whitening Strips 18 months
Toothpaste 18 months
Misc:
Eye Care 18 months
First Aid 18 months
Smoking Cessation 18 months
Vitamins 18 months
Film & One Time Use Cameras 18 months
Batteries 36 months
Sun Care 18 months
Family Planning:
Condoms 18 months
Test Kits 18 months
Lubricants 18 months

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11.0 Advertising Policy

11.1 Using the BB&B Name

BB&B appreciates the fact that many of its vendors do regional and/or national advertising (including Internet) for their products
and would like to tag BB&B to assist customers in locating those products. However, it is imperative that, prior to the running of
an ad that may include BB&B, all vendors discuss their particular advertising plans with the buyer as well as with the Marketing

Department. Please see Appendix D for contact information.

Under no circumstances may any vendor use the name “Bed Bath & Beyond”, “buybuy Baby”, “Harmon Stores”, “Harmon/Face
Values” or any trademark or other intellectual property of BB&B in any advertising or press release without a written agreement
and signed approval of the actual advertisement or release from the BB&B Marketing Department.

BB&B is able in certain circumstances to use vendor created advertising, such as product photos, digital images, in store video,
digital video, and ad copy, (referred to collectively as “Advertising Materials”). Please contact the BB&B buyer to discuss pricing.

11.2 Video Technical Specifications
The following parameters are to be followed in the development and distribution of in-store P.O.P. product videos:

e« Only skus/patterns/colors/sizes that BB&B carries in its current assortment should be visible in the video.

e The content of the video should be geared to as broad a base of customers as possible.

e The video should be professionally narrated with enthusiasm and in a tone matching the overall feel of the video.
Avoid/limit customer “testimonials” if at all possible.

e The video should creatively identify the features and benefits of the product. These features and benefits should be
conspicuously mentioned, highlighted through on-screen text/graphics & demonstrated in an engaging manner.

e There must be no reference to vendor's web site, phone number, or special orders.

e “Tagging” or reference to the product being available at BB&B (both on screen as well as voice over) is strongly

encouraged.

Allin store videos should be in DVD format.

All in store videos should be continuous loop, with a preferred length of 30 — 60 seconds.

All DVDs need to be shipped in individual soft cases (e.g. not loose in box or in paper sleeves).

Each DVD and case should be identically labeled, as per BB&B buyer's instructions.

11.3 Images for e-Commerce

Images are required for products selected to appear on our retail website. BB&B reserves the right to assess a one-time fee of up
to $200 per item which will cover a portion of the production fees related to placing products on the website. All images must
adhere to the BB&B website image guidelines. The image guidelines are available on the BB&B support site under “Item Setup
Information”. Please see Appendix D for website addresses.

11.4 QR Codes

Prior to including or changing existing Quick Response (“QR”) codes (or similar technologies whether now existing or later
developed) on product, packaging/labeling or on printed material included inside the packaging, the vendor must first submit the
QR code and its content to BBB for review and approval.

11.5 Legal Specifications

Vendor represents and warrants that:

e Advertising Material does not infringe or violate any copyright, trademark, patent, trade secret or any other proprietary or
other right of any third party.

e Advertising Material is not libelous.

e Advertising Material, including any advertising claims contained therein, is accurate and complies with all applicable laws,
regulations, and standards

e Any digital Advertising Material contains no virus, mal-ware, or other code that will affect BB&B’s computer system or the
computer system of any user of the Maierial.

By submitting Advertising Material to BB&B, the vendor agrees that BB&B may use the Advertising Material in any manner or
fashion, including modifying, cropping, editing or adding to the Advertising Material. By way of example, BB&B may: include
product photos in web sites, email advertisements, magazine advertisements or other printed publications; post videos including
BB&B specific lead-ins and/or watermarks to public video sharing sites, such as YouTube or Facebook; or modify ad copy. The
vendor will not object to any such use (provided, however, that BB&B will make good faith efforts to comply with the vendor's
requirements for proper use of trademarks within such Advertising Materials). BB&B will not to use Adverting Materials in a manner
that is untruthful, inaccurate, or that defames the vendor or vendor's products.

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12.0 Chargeback Policy and Dispute Resolution

Chargebacks are not applied in order to generate income, but rather to either reflect agreed upon discounts/allowances/rebates or
any other charge taken, or to offset expenses and improve the overall level of compliance. BB&B has gone to great lengths to
ensure that chargebacks are not arbitrary and accurately reflect agreed upon deductions, and that all compliance related
chargebacks meet our needs for cost recovery. For any chargebacks contained on a remittance advice, BB&B requires vendors to
demonstrate that the chargeback was inappropriately deducted as a prerequisite for repayment.

Chargeback Dispute Resolution Process

Written notice of the dispute of any chargeback contained on a remittance statement must be received within 90 days of the check
date. If written dispute is received after this 90 day time period, the right to dispute the chargeback shall have been waived and the
chargeback shall be final. All disputes must contain the following:

Correspondence form with reason for the dispute

Copy of the chargeback (included with the check remittance)

Transportation documentation if applicable

Proof of Delivery for shortages

Any documentation that will support claim (e.g. proof of transmission of UPC code or proof of change to the original order,
etc.)

e Documentation of any correspondence with BB&B that justifies the dispute

A copy of our correspondence form can be found on our web Vendor Support Site (see Appendix D for website address). Additional
documentation, depending on the particular facts and circumstances of the dispute, may be required by the Vendor Relations
Department. Please send detailed requests to the following address:

Bed Bath & Beyond
P.O. Box 3128

Union, New Jersey 07083
Attention: Vendor Relations Department

13.0 New Locations

lt is imperative that vendors ship goods in accordance with the BB&B policy to ensure that new locations are appropriately
merchandised.

13.1 New Location Policy

The terms of this policy apply to all orders placed for New, Relocated, Remodeled, Rebranded, Expanded, or Newly Affiliated
locations (i.e. any location added as a result of Acquisition, Merger, Joint Venture, etc. ) as follows:

e All orders placed within the first 60 days of opening for business.
e All seasonal orders placed in the first 12 months following the opening.

13.2 Discounts and Extended Dating

All orders for new locations, as defined above, are subject to new location discounts and extended dating.

e The discount must not be included by the vendor in the unit pricing.
e The discount should not be taken as a separate line item on the invoice.

Note: If a separate line item for the new location discount must be taken, the correct credit code must be included.

13.3 Early/Late Shipments to New Locations

In order to ensure the success of all new locations, it is essential that goods be shipped in accordance with stated ship dates. For
details about ship dates, please see Section 3.0.

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14.0 International Locations

BB&B has expanded internationally. This represents an excellent opportunity for our vendors to enjoy exposure to additional
markets.

14.1 Merchandise Availability

All vendors, including those who ship to any BB&B locations in the United States, must provide merchandise that can be sold in
BB&B locations outside of the United States. If a vendor believes it is contractually prohibited from supplying products to BB&B for
distribution and sale outside of the United States, the vendor is required to provide written details to the respective BB&B buyer and
to copy that information to BBBINTL@bedbath.com PRIOR to accepting a purchase order from BB&B.

14.2 Compliance with Law

As with products destined for distribution in the United States, merchandise and its packaging and labeling must satisfy all Federal,
state/provincial and local laws of Canada, Mexico and any other location in which BB&B conducts business, including any language
requirements.

As a convenience, a brief overview of some of the product, packaging, and labeling requirements for goods sold in Canada, as well
as a list of internet sources for additional information is included in the Quality Assurance Manual.

In addition, please be aware that Mexico and its various States and local jurisdictions also have unique laws applicable to the import
and retail sale of merchandise including, but not limited to, Spanish language requirements, and testing and certification. Additional
details are included in the Quality Assurance Manual.

14.3 Merchandise Information

Vendors will be required to provide all relevant product information such as, but not limited to, Duty Classifications, Country of Origin
information and certificates, NAFTA certificates (if applicable) and any other product information that may be required or requested
by BB&B in order to facilitate the efficient exportation of merchandise. Vendors will also be required to ensure that the information
and/or accompanying certificates are kept current with or without a specific request from BB&B to do so. Vendors will be
responsible to reimburse BB&B for any direct, indirect and/or administrative costs which may arise from the vendors’ failure to
provide or maintain accurate and complete product information and certificates. In the event that merchandise is not eligible for a
NAFTA based elimination of import duty, upon request, vendors will be required to provide BB&B with all necessary information,
documentation and assistance to recover a duty drawback for the full amount of duty paid on the merchandise upon its entry into
the United States. Failure to provide any such information, documentation or assistance may result in a chargeback to the vendor
in the amount of the duty not recovered plus an administrative fee. See Appendix A for details.

14.4 Shipping Information

Please see our Vendor Routing Guide (available at the Vendor Support site listed in Appendix D) for details regarding freight
preparation, tender and shipping for merchandise destined for locations outside of the United States.

14.5 Purchase Orders

In connection with the purchase of merchandise for our international locations, purchase orders may be issued in the name of BB&B
or in the name of an affiliate, subsidiary or joint venture of BB&B including, but not limited to, Liberty Procurement Co. Inc., Bed

Bath & Beyond of Canada L.P., and Bed Bath & Beyond of Mexico de R.L. de C.V.
Notwithstanding the purchasing entity name, please remember that these orders are to receive the same accommodations,

terms and conditions as any BB&B order.

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APPENDIX A — Chargeback Summary

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EDI Violations

Paper invoice received for a PO other than a custom (special) order.

$5 per paper invoice (store level)

ASN received incorrectly, inaccurate, invalid, incomplete or not
transmitted within 2 hours after the goods are shipped , GS1 -128 label
invalid, illegible or missing

$2 per carton received with ASN and/or labeling
violations

Failure to transmit a valid GS1-128 carton ID to FedEx in the required
format and/or time frame.

$2 per carton in violation

Routing. / Freight Tender Violations

Shipping same store more than once per week from the same origin
zip code.

Full undiscounted cost of freight associated with all
shipments excluding the largest (weight) shipment for
the week +$25 Administration fee

Failure to follow routing instructions such as but not limited to:
“Collect” freight shipped via incorrect carrier or mode as required by
BB&B Routing Guide

Full undiscounted cost of freight + $25 Administration
fee

“Pre-paid” orders shipped “Collect”

Twice the full undiscounted cost of freight + $25
Administration fee

Misdirected Freight: Vendor mislabeled and /or shipped goods to
incorrect location.

Full undiscounted cost of freight + $25 Administration
fee

Failure to submit a Truckload Routing Request Form

Full undiscounted cost of freight + $25 Administration
fee

Shipping prior to New Store Ship Date

$75.00 per LTL shipment/ $5.00 per FedEx carton

Appointment Violations & Merchandise not available for pickup

All accessorial charges passed on from the carrier
+$25 Administration fee

All Prepaid or unauthorized Collect carrier accessorial charges e.g.,
detention, notification, storage, sorting, reweigh, etc., including pre-
paid carriers attempting delivery without appointment.

100% of accessorial charge +$25 Administration fee

Reversal of prepaid freight charges, e.g. vendor ships prepaid in error
and requests BB&B to reverse freight charges back to BB&B

BB&B will not reverse charges. Vendor is responsible
for paying original carrier directly

Failure to notify BB&B of Oversized Cartons

Full undiscounted cost of the freight + $25
Administration fee

FedEx Ground address correction charges

$10 per address correction

Failure to notify BB&B 180 days in advance of relocation of shipping
facility OR

Failure to secure approval from BB&B prior to: implementing or
discontinuing “Pick and Pack” procedures or changing case pack
quantities.

Full undiscounted cost of freight for all such shipments
until notification is received and approved plus a
monthly $100 Administration fee

Shipping an individual Store the same sku’s from multiple locations or
failure to ship goods from correct facility (if so designated by BB&B)

Full undiscounted cost of freight fram the facility in
violation +$25 Administration fee.

Freight requiring carrier sort and segregation, i.e.: orders shipped
without BOL and/or store integrity)- which ever is correct

$.75 per carton with a minimum $20 per shipment to
sort and segregate

Failure to palletize a Truckload shipment

$0.50 per floor loaded carton

Poor pallet quality / Improperly palletized freight / Incorrect carton or
pallet label

$20 per pallet in violation or $2 per carton

Misclassification of commodity type(s) on Bill of Lading (e.g. incorrect,
incomplete, or missing NMFC item(s) or freight class(es) or use of
single item or freight class when shipment contains multiple
commodity types.

Full undiscounted cost of freight + $25 Administration
fee.

Missing, Incorrect, or Incomplete Bill of Lading

$25 per occurrence

Packing and/or sealing violations resulting in extra carton handling

All accessorial charges passed on from the carrier
+$25 Administration fee

Purchase Order (Excluding store numbers 8000 - 8999)

Early Shipment
2 — 13 days prior to ship date
14 — 20 days prior to ship date
21 — 27 days prior to ship date
28 + days prior to ship date

5% of cost of merchandise shipped early

10% of cost of merchandise shipped early
15% of cost of merchandise shipped early
20% of cost of merchandise shipped early

Late Shipment or Non Shipment
14 — 20 days after ship date
21 — 27 days after ship date
28 - 34 days after ship date

5% of cost of merchandise shipped late
10% of cost of merchandise shipped late
15% of cost of merchandise shipped late

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35 + day after the ship date or Non-shipment of merchandise

20% of cost of merchandise shipped late or not shipped

Late Shipment of Circular / Seasonal Goods/ “Time Sensitive” -
Orders not shipped between ship and cancel dates for orders
identified by BB&B as circular and / or seasonal orders or other “time
sensitive”.

All costs to expedite or 20% of cost of merchandise not
shipped on time at BB&B discretion. BB&B may
choose to return late shipped goods at the vendor's
expense

Late Shipment or Non Shipment - New Stores

All costs to expedite or 25% of cost of merchandise not
shipped on time at the discretion of BB&B

Late Shipment or Non Shipment — Special Orders

20% of retail price to cover costs of customer
accommodation

Purchase Order (Applies only to store numbers 8000 - 8999)

Late Receipt or Non Receipt
15 — 21 days after Receipt Date
22 — 28 days after Receipt Date
29 - 35 days after Receipt Date
36 + day after Receipt Date

5% of cost of merchandise received late

10% of cost of merchandise received late
15% of cost of merchandise received late
20% of cost of merchandise received late

Late Shipment of Circular/Seasonal Goods/Time Sensitive Orders -
Orders not received between receipt and cancel dates for orders
identified by BB&B as circular orders and/or seasonal orders or other
time sensitive orders.

All costs to expedite or 20% of cost of merchandise not
received on time at BB&B discretion. BB&B may
choose to return late received goods at the vendor's
expense

Late Receipt or Non-Receipt — New Stores

All costs to expedite or 25% of cost of merchandise not
received on time at the discretion of BB&B

Purchase Order (Applies to ALL STORES)

Damaged Receipt of Special Orders

20% of retail price to cover costs of customer
accommodation, including but not limited to house calls
for repair, cost of repair, etc.

Unordered, substituted, over shipped, cancelled items

20% of cost of such items plus freight and handling
costs if returned

Partial Shipment (on orders designated as “ship complete")

20% of Purchase Order cost

Concealed Short Shipment: Quantity received in the store does not
match what was indicated on the store Invoice

25% of cost of shortage on the SKU in addition to the
cost of the SKU not shipped

Ticketing / Labeling Violations (UPC)

UPC Violation (Invalid, incomplete, unscannabie, unreadable, missing,
not on file)

$1.00 per unit with a $50.00 minimum + $25
Administration fee

Violation of labeling/printing requirements including, but not limited to
,inaccurate declaration of weight or measure, incomplete/ incorrect
vendor address information, fiber content, registration numbers,
language requirements, etc., as well as language requirements for
any included manuals/instructions/warnings.

Full reimbursement of any fines or penalties paid by
BB&B plus all related Administration costs (minimum
$50 for the first violation and minimum $500 for
subsequent violations) and/or all costs associated with
the correction of labels and other printed materials, or
the return of non-compliant merchandise to the vendor

Incorrect or missing size labeling, retail ticket (if required) or other
violations to BB&B’s packaging or labeling requirements

$25 per incident + $1.00 per unit in violation

Failure to meet the brand requirements set in the Brand Style guide
including but not limited to printing of brand color, paper stock to be
used, photography style and bag specs for

these brands (include size of bag, gauge of bag, and material
speced).

$1.00 per unit per violation with a $50 minimum + 25
Administration fee

Miscellaneous.

Item information and/or image requests that are not submitted (or not
accurately submitted) within the 3 business day window

$5 per UPC per day

Error on invoice (No/Invalid/Wrong store #, PO #, Carton Count,
Terms, Invoice Date, etc.), duplicate Invoices, or multiple invoices for
the same shipment

$25 per invoice

Request for copy of Check Remittance, Cancelled check or claim

$25 per incident

Failure to provide or to maintain accurate product information,
certificates or documentation to BB&B that may be necessary to sell
and/or import merchandise into any jurisdiction in which BB&B is
located, or failure to provide (upon request by BB&B) documentation,
information and/or assistance necessary to recover a duty drawback
for the duty paid on the merchandise upon its entry into the United
States.

$ 25 per purchase order plus full amount of any related
fines , penalties, fees and/or the duty not recovered

Failure to follow folding and sticker requirements for clothing.

$0.25 per unit

Failure to ship apparel on hangers

$0.40 per unit received without hanger

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APPENDIX B -- Certificate of Insurance Requirements / Acknowledgement of Vendor
Compliance Guide, Quality Assurance Manual, and Routing Guide

As a condition of doing business with Bed Bath & Beyond Inc., and its subsidiaries and affiliated companies (collectively, “BB&B’),
vendors are required to (i) deliver a Certificate of Insurance evidencing Products Liability and Commercial General Liability
coverage as set forth below, and (ii) read and accept the Vendor Compliance Guide, Quality Assurance Manual, and Routing Guide.
Both the Certificate of Insurance and this Acknowledgement must be on file with BB&B. The Certificate of Insurance must be
renewed and provided to BB&B on an annual basis. Vendors must obtain and maintain the required insurance as vendor's products
are being sold by BB&B plus 12 months after the last date of sale. At any time, BB&B has the right to adjust the limits set forth
below and/or require additional insurance coverage.

Please also note that vendors providing in-home services or conducting in-store demonstrations may be required to evidence
Workers’ Compensation and Employer's Liability Insurance, as well as Automobile Insurance (owned, hired, non-owned).

The vendor is solely responsible for the payment of all deductibles and premiums. Neither self-insurance nor self-insured retentions
are permitted without the prior written consent of BB&B.

A. Please have your insurance agent obtain and forward a “Certificate of Insurance” to:

Bed Bath & Beyond Inc.
700 Liberty Avenue
Union, NJ 07083

Attn: Risk Management

Vendor’s insurance and the Certificate of Insurance must comply with the following requirements:

e Be written by an insurance carrier admitted and licensed in the United States, Puerto Rico, Mexico and Canada; the
insurance coverage shall be provided on a worldwide basis.

e Additional Insured Vendors Coverage (endorsement):
> Naming, as additional insured, Bed Bath & Beyond Inc., its subsidiaries and affiliated companies, and their
respective successors, assigns, officers, directors, employees and agents. Please attach Form CG 20 15
Additional Insured — Vendors. Vendor represents and warrants that any product it is selling to BB&B is scheduled

on the CG 20 15.
> Bed Bath & Beyond Inc., its subsidiaries and affiliated companies, and their respective successors, assigns,
officers, directors, employees and agents shall be named as additional insureds with respect to vendor's Products

& Completed Operations coverage.
> The additional insured status of BB&B shall apply to both primary and umbrella/excess liability coverage.

e Beconsidered primary, noncontributory, and not excess coverage.
e Include a blanket waiver of subrogation in favor of BB&B.
e Vendor's insurance carrier shall have an AM Best's Rating of at least A— VII.

e include a clause that obligates the insurer(s) to provide BB&B with at least 30 days prior written notice of cancellation or
material change in the policies.

e Minimum Limits: $2,000,000 Each Occurrence (Must be equivalent to U.S. Dollars). Note that an Excess Liability/Umbrella
can be used to increase the primary General Liability limits.

e Limits of $5,000,000 or $10,000,000 will be required for certain products. Refer to the Vendor Liability Insurance Matrix for
listing of products. If you do not see your product, please contact vendorcoi@bedbath.com.

BB&B will withhold payment until an acceptable Certificate of Insurance is on file and this Acknowledgement is completed, signed,
and returned. If an updated Certificate of Insurance is not provided to BB&B on an annual basis, BB&B has the right to withhold

payment until received.
B. Have this Acknowledgement signed by a Corporate Officer or a Principal of the Vendor and return to:

Bed Bath & Beyond Inc.
700 Liberty Avenue

Union, NJ 07083

Attn: Financial Control / VC

OR FAX to 908 688-5279 ATTN: Financial Control / VC

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By signing this document the vendor acknowledges receipt of, and agreement to, the: (1) Insurance Requirements; (2)
Vendor Compliance Guide; (3) Quality Assurance Manual; and (4) Routing Guide, as currently available at
http:/Awww.vendor.bedbath.com and https://partners.bedbath.com.

Vendor Name:

Signature:

Print Name:

Title:

Date:

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VENDOR LIABILITY INSURANCE MATRIX
US $2,000,000 LIMITS
CATEGORY |

ALTERNATE TOP OF THE BED - COVERLETS, BEDSPREADS, QUILTS
APPAREL & FOOTWEAR (EXCLUDING INFANT/CHILDREN’S)
BABY - CLOSET STORAGE, WALL DECOR
BABY GIFTS - FRAMES, KEEPSAKES, PHOTO ALBUMS, INVITATIONS, GIFT SETS
BASIC HOUSEWARES (NON-ELECTRIC)
BASIC LINENS - PILLOWS, PADS, PILLOW PROTECTORS, MATTRESS COVERS
BATH ENSEMBLES, BATH HARDWARE, BATH RUGS, BATH TOWELS
BATTERIES - NON RECHARGEABLE
BEAUTY - BRUSHES, COMBS, COSMETICS, NAILS, HAIR COLOR, MIRRORS, ACCESSORIES (NON-ELECTRIC)
BEVERAGES (EXCLUDING ANY HEALTH DRINKS, DIETARY OR HERB ITEMS)
- BOTTLED WATER
- ENERGY DRINKS
- SODA AND JUICES
BOOKS & ACTIVITIES
CANDY, MULTIPACK GUM AND MINTS, SNACKS, NUT/MIXES
CELL PHONE AND COMPUTER ACCESSORIES
CHRISTMAS SEASONAL- DECOR, GIFT WRAP, CARDS, PAPER GOODS, ETC
CLEANING - LAUNDRY HOLDERS, STICK GOODS (MOPS, BROOMS, DUSTPANS)
CLOSETS - HANGERS, HOOKS, STORAGE, SHOE RACKS, HOME FRAGRANCE, OFFICE ORGANIZATION
CLOTHING - EXCLUDING INFANT/CHILDWEAR
COFFEE (EXCLUDING COFFEE POTS/MAKERS)
COOKWARE (NON-ELECTRIC)
CUTLERY
DECORATIVE ACCESSORIES - PILLOWS, THROWS, BLANKETS, FURNITURE COVERS
DECORATIVE RUGS
DIAPER BAGS
DIAPER PAILS
DOORMATS, KITCHEN MATS
DUVET COVERS, COMFORTERS, SHEETS, BEDDING SETS, PILLOWS
FOOD (EXCLUDING INFANT FOOD/DRINK OR DIETARY SUPPLEMENTS)
- CANNED FOODS
- DRY FOODS (SNACKS, PASTA, BAKING GOODS, SEASONINGS, ETC.)
- FRUITS AND VEGETABLES
FURNITURE - TABLES, ACCENT, HOME OFFICE (NON BABY)
GENERAL MERCHANDISE - WIPES, GARBAGE BAGS, PLATES, CUPS, PLASTIC CUTLERY, MAGAZINES
GREETING CARDS/GIFT WRAP
JEWELRY (EXCLUDING CHILDREN’S)
LUGGAGE
MATERNITY APPAREL
MATTRESSES - (EXCLUDING CRIBS)
PERSONAL CARE PRODUCTS - SUCH AS LOTIONS, SHAMPOO, TOOTHPASTE, MOUTHWASH, SHAVING, TANNING
LOTIONS, ETC. (NON-PHARMACEUTICAL, NON-INVASIVE, NON-TOPICAL, NON-ELECTRIC)

PET SUPPLIES - SUCH AS PET APPAREL, PET FOOD, PET ACCESSORIES, PET CHEWS
PHOTO FRAMES AND FRAMED ART, WALL DECOR, HOME DECOR (NON-ELECTRIC)

READING GLASSES, SUN GLASSES

SHOWER ACCESSORIES, SHOWER CURTAINS

SOFT KITCHEN - TABLECLOTHS, PLACEMATS, CHAIR PADS, RUGS

STROLLER ACCESSORIES

SUMMER SEASONAL - SUCH AS OUTDOOR CUSHIONS/PILLOWS, GARDENING (EXCLUDING FURNITURE & TIKI
TORCHES)

TABLETOP & GIFTWARE

UMBRELLAS - PERSONAL USE (EXCLUDING OUTDOOR/PATIO UMBRELLAS)

UTILITY - SUCH AS FLASH LIGHTS, HARDWARE, LIGHT BULBS, SNOW SHOVELS, SNOW SCRAPERS, WIND GUARDS
WINDOW TREATMENTS

WOMEN'S ACCESSORIES - SUNGLASSES, SCARF'S, HAIR ACCESSORIES

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VENDOR LIABILITY INSURANCE MATRIX
US $5,000,000 LIMITS
CATEGORY Il

ALCOHOL
ALL ELECTRICS - EXCLUDING HEATERS
BABY BEDDING
BABY CARE - DIAPERS, WIPES, MEDICAL KITS, GROOMING KITS
BABY -
- CONTOUR PADS, OTHER PADS, NURSERY ACCESSORIES, DECORATION ACCESSORIES
- DECORATION ACCESSORIES, CHILD CARE HOSPITALITY
BATH & POTTY
- POTTY TRAINING, CLOSET, CHEMICALS
BATTERIES - ELECTRIC AND/OR RECHARGEABLE
BEACH TOYS
CANDLES, CANDLE SETS FOR ALL OCCASIONS
CAR SEAT ACCESSORIES
CHEMICALS - SUCH AS PESTICIDES, DEGREASERS, CLEANING CHEMICALS, WINTER, BUG REPELLENTS
CHRISTMAS SEASONAL - SUCH AS TREES, OUTDOOR DECOR, ANIMATION, LIGHTS
DIETARY SUPPLEMENTS - SUCH AS HERBAL PRODUCTS, VITAMINS, NUTRITION BARS
DISHWASHER DETERGENT, LAUNDRY DETERGENT, ROOM/FABRIC FRESHENERS
EXTENSION CORDS, SURGE PROTECTORS
FIRST AID
FOOD - MEATS, SEAFOOD, POULTRY, EGGS AND DAIRY
HAIR DRYERS, ELECTRIC GROOMING, HAIR STYLING APPLIANCES
HUMIDIFIERS/VAPORIZERS
IRONS
INFANT FEEDING
- |NFANT FEEDING, BREAST FEEDING, NURSING PILLOWS, KIDDY TABLETOP, PEG TABLETOP, PLASTIC CUPS,
BIBS, ETC
INFANT TOYS - SUCH AS PLUSH, BOXED TOYS, STACKERS & BLOCKERS, PEGGED TOYS, ELECTRONIC & MUSICAL
INFANT/CHILDREN WEAR
JEWERLY - CHILDREN'S
KIDS SUNGLASSES
LAMPS AND LIGHTING
LIGHTERS AND MATCHES
MEDICINE - SUCH AS INGESTED PRODUCTS (OVER THE COUNTER)
OUTDOOR PLAY - SUCH AS BIKES AND RIDE ONS (EXCLUDING SWIMMING POOLS, WATER TOYS, TRAMPOLINES,
SWING SETS)
PERSONAL CARE - DEODORANT, LIP THERAPY, EYE & EAR CARE, FOOT CARE, FEMININE HYGIENE(PADS, LINERS,
TAMPONS), CREAMS, INGESTIBLES, INTIMACY, DENTAL APPLIANCES
PERSONAL ELECTRICS
SAFETY - GATES, MONITORS, INFANT SUPPORT
SLEDS
SNOW TOYS
STEP STOOLS
TOYS

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VENDOR LIABILITY INSURANCE MATRIX
US $10,000,000 LIMITS
CATEGORY IIl

BABY FURNITURE - SUCH AS CRIBS, DRESSERS, CHANGING TABLES, GLIDERS

BABY PLAYROOM - PACK N PLAY, PLAYPENS, BOUNCERS, SWINGS, STROLLERS, CAR SEATS, BOOSTER SEATS

BBQ

CHAIRS - FOLDING AND/OR COLLAPSIBLE

CRIB TENTS

CRIB MATTRESSES

GENERATORS

HAMMOCK, HAMMOCK CHAIRS, BEACH CHAIRS, FOLDING CHAIRS, DEEP SEATING, CHAISES, OUTDOOR UMBRELLAS
HEATERS, FIRE PITS, FIREPLACES, OUTDOOR HEATING

INFANT BATHING - TUBS & TUB CHAIRS

INFANT FORMULA

INFANT TOYS - GYMS, WALKERS & TABLES

LAWNCARE - MOWERS AND TRIMMERS

OUTDOOR FURNITURE, FOLDING AND COLLAPSIBLE CHAIRS

OUTDOOR PLAY - SWIMMING POOLS, WATER TOYS (INCLUDING FLOATATION DEVICES), TRAMPOLINES, SWING SETS
PROPANE .

SNOWBLOWERS

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Example- Certificate of Insurance
ASOR?" CERTIFICATE OF LIABILITY INSURANCE DATE:

THIS CERTIFICATE IS ISSUED AS A MATTER OF INFORMATION ONLY AND CONFERS NO RIGHTS UPON THE CERTIFICATE HOLDER. THIS
CERTIFICATE DOES NOT AFFIRMATIVELY OR NEGATIVELY AMEND, EXTEND OR ALTER THE COVERAGE AFFORDED BY THE POLICIES BELOW.
THIS CERTIFICATE OF INSURANCE DOES NOT CONSTITUTE A CONTRACT BETWEEN THE ISSUING INSURER(S), AUTHORIZED REPRESENTATIVE
OR PRODUCER, AND THE CERTIFICATE HOLDER.

IMPORTANT: If the certificate holder is an ADDITIONAL INSURED, the policy(ies) must be endorsed. If SUBROGATION IS WAIVED, subject to the terms and
conditions of the policy, certain policies may require an endorsement. A statement on this certificate does not confer rights to the certificate holder in lieu of such

endorsement(s).
PRODUCER CONTACT
NAME:
PHONE FAX
iName and Address of Insurance Company] (AIC, No. Ext): (AIC, No):
E-MAIL
ADDRESS:
INSURER(S) AFFORDING COVERAGE NAIC#
INSURED INSURER A : [Name of Insurance Company)
INSURER B:
- . INSURER C:
Vendor Name as it Appears on Invoice INSURER D-
INSURER E:
L} You must INSURER F:
| have both | CERTIFICATE NUMBER: | REVISION NUMBER:

Commercial FIFY THAT THE POLICIES OF INSURANCE LISTED BELOW HAVE BEEN ISSUED TO THE INSURED NAMED ABOVE FOR THE POLICY
tepiiey" FED. NOTWITHSTANDING ANY REQUIREMENT, TERM OR CONDITION OF ANY CONTRACT OR OTHER DOCUMENT WITH RESPECT TO
and "Ovcur”  RTIFICATE MAY BE ISSUED OR MAY PERTAIN. THE INSURANCE AFFORDED BY THE POLICIES DESCRIBED HEREIN IS SUBJECT TO

LI checked | EXCLUSIONS AND CONDITIONS OF SUCH POLICIES. LIMITS SHOWN MAY HAVE BEEN REDUCED BY PAID CLAIMS.
ADDL SUBR POLICY | POLICYEFF | POLICY EXP
CIR TYPE OF INSURANCE INSR WvD__|_NUMBER_| (MM/DD/vvy)_| (MM/DD/YY) LIMITS
GEN [ABILITY EACH OCCURRENCE | § See Matrix
A
X | C4 YMERCIAL GENERAL LIABILITY x x Effective Expiration DAMAGES TO RENTED
PREMISES(Ea
occurrence)
CLAIMIS-MADE | xX | OCCUR MED EXP (Any one
person)
PERSONAL & ADV $ See Matrix
[| INJURY
GENERAL $
AGGREGATE
GEN'L AGGREGATE LIMIT APPLIES PER: PRODUCTS-COMPIOP $ See Matrix
Xx | PoLicy PRO-
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AUTOMOBILE LIABILITY COMBINED SINGLE
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(Ea accident)
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person)
ALL OWNED AUTOS BODILY INJURY Per 3
SCHEDULED AUTOS Pomc Or |S
$
HIRED AUTOS ;
NON-OWNED AUTOS
UMBRELLA LIAB OCCUR EACH OCCURRENCE | $See Matrix
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MADE
DEDUCTIBLE $
|__| RETENTION $ s
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ANY PROPRIETORIPARTNERIEXECUTIVE | [] LiMiTs
OFFICER/MEMBER EXCLUDED? ELL. EACH ACCIDENT
(Mandatory in NH) E.L. DISEASE — EA
If yes, describe under EMPLOYEE
DESCRIPTION OF OPERATIONS below EL. DISEASE — POLICY
LIMIT
OTHER

DESCRIPTION OF OPERATIONS/LOCATIONS/VEHICLES (Attach ACORD 101, Additional Remarks Schedule, if more space is required)

CER

Bed Bath & Beyond inc., its subsidiaries and affillated companies, and their respective successors, assigns, officers, directors,
employees and agents, is named as additional Insured under ISO Form CG 20 15 -Additional Insured-Vendors (or its equivalent).

See attached endorsement.

insurance coverage shall be provided on a worldwide basis.

Union, NJ 07083

Bed Bath & Beyond Inc. * Only the
Attn: Risk Manager Corporate
700 Liberty Avenue Address will

* This comment
must be included
in it's entirely

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be accenterl.

SHOULD ANY OF THE ABOVE DESCRIBED POLICIES BE CANCELLED BEFORE THE
EXPIRATION DATE THEREOR, NOTICE WILL BE DELIVERED IN ACCORDANCE WITH THE
POLICY PROVISIONS.

AUTHORIZED REPRESENTATIVE:

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and its subsidiaries

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APPENDIX C-— Standard Terms and Conditions

The text of the Bed Bath & Beyond “Terms & Conditions” follows. Said terms and conditions will govern in the event of any conflict
between the Order (defined below) and any other document (including the Vendor Compliance Guide).

1. As used herein, the following terms shall have the following meaning: (a) “Order” means a purchase order or an order effectuated
through Electronic Data Interchange transmission (EDI) or any other means, which orders shall be deemed to include, in either event,
these Terms and Conditions and (b) “Merchandise” refers to the goods, products, supplies, parts, assemblies, specifications, services
or other items constituting the subject matter of the Order which are to be furnished by the vendor hereunder together with all related
packaging, labeling and other printed matter and advertisements furnished or authorized by Vendor. References to “BB&B” include
Bed Bath & Beyond Inc. and its subsidiaries and affiliated companies.

2. Vendor represents and warrants to BB&B, in addition to all warranties implied by law, that the Merchandise described on the face
of the Order shall (a) be free from defects in design, workmanship or materials, including, without limitation, such defects as could
create a hazard to life or property; (b) be suitable for end use; (c) be manufactured, packed for shipment, marked with the country of
origin or other information required by law or regulation and where required, be registered, all in accordance with applicable federal,
state/provincial and local laws and all orders and regulations promulgated thereunder in each Country where BB&B conducts
business, including the United States, the Commonwealth of Puerto Rico, Canada and Mexico as well as all industry standards; (d)
not infringe or encroach upon any party's personal, contractual or proprietary rights, including patent, trademark, trade name, service
mark, copyright, right of privacy or trade secret rights; (e) not violate or breach any agreement that vendor may have with a
manufacturer or distributor; (f) conform to all specifications and other descriptions set forth or incorporated in the Order and all articles
accepted by BB&B as Merchandise samples; (g) possess all performance qualities and characteristics claimed in advertisements
issued or authorized by Vendor; (h) conform with all BB&B company Merchandise policies including those identified in the BB&B
Quality Assurance Manual; (i) be properly stamped, tagged, labeled, or marked with such information as may be required by any
applicable law, regulation or order, including, but not limited to, labels required under any applicable upholstered and stuffed goods
regulation, and any labels, warnings, or information that may be required under California's Safe Drinking Water and Toxic
Enforcement Act of 1986 ("Proposition 65"); (j) be well within any expiration date indicated on the packaging of the Merchandise, (k)
have been stored under proper conditions to preserve the quality of the Merchandise; and (I) meet the requirements of all United
States federal, state and local laws and all orders and regulations promulgated thereunder including but not limited to United States
Food, Drug and Cosmetics Act, the United States Federal Trade Commission Act, the United States Consumer Product Safety Act,
the Consumer Product Safety Improvement Act of 2008, the United States Domestic Chemical Diversion Control Act, the United
States Federal Hazardous Substances Act, the United States Toxic Substances Control Act, the Federal Insecticide Fungicide and
Rodenticide Act, the United States Flammable Fabrics Act, the United States Fur Products Labeling Act, the United States Wool
Products Labeling Act, the United States Textile Fiber Products Identification Act, the United States Fair Packing and Labeling Act,
APHIS and other US Fish and Wildlife Regulations, and the United States Lacey Act; (m) meet the requirements of all Canadian
federal, Provincial and local laws and all order and regulations promulgated thereunder including the Consumer Packaging and
Labeling Act, Textile Labeling Act, Food & Drug Act, Competition Act, Precious Metals Marking Act, the Hazardous Products Act, the
Consumer Product Safety Act, the Pest Control Products Act, and Ontario’s Upholstered and Stuffed Articles regulations under the
Technical Standards and Safety Act; and (n) meet the requirements of all federal, state and local laws and all orders and regulations
promulgated thereunder in Mexico and in each Country where BB&B conducts business. Vendor also represents and warrants that
(x) the weights, measures and sizes of all Merchandise shall be as represented and conform to all standards, regulations and
requirements of any federal, state/provincial or local governmental authorities having jurisdiction in any country or territory where
BB&B conducts business; (y) the prices, terms and conditions of sale hereunder and any discount, rebate or allowance for advertising
or otherwise granted by vendor in connection herewith are not in violation of the United States Robinson-Patman Act, the Canadian
Competition Act or any other applicable laws and regulations and (z) no forced labor or child labor shall be utilized in connection with
the manufacture of the Merchandise. Vendor also represents and warrants that any patent markings on Merchandise shail reflect
only patents that are in force and unexpired as of the time of manufacture and affixation. Vendor's representations and warranties
herein shail survive the delivery of Merchandise to BB&B and any resale of Merchandise by BB&B.

3. Vendor, at its sole cost and expense, shail perform, or cause to be performed, all tests on the Merchandise required by , or
necessary to show compliance with, (a) BB&B’s Merchandise specifications and standards, and (b) any federal, state, provincial and
local governmental authority having jurisdiction in any country in which BB&B does business. Vendor shall maintain for a period of
not less than three (3) years reports documenting all such tests have been administered and passed. Testing laboratories shall be
acceptable to BB&B and the agency or authority requiring same. At BB&B’s request vendor shall provide copies of such test reports,
and shall permit BB&B or any person or persons authorized by BB&B to inspect and make copies of all records maintained by vendor
in connection with such tests. If the vendor fails to perform testing, or fails to do so in a timely manner, then BB&B may (but is not
obligated to) perform such testing and certification and charge back the vendor for all costs incurred.

From time to time, BB&B may submit the Merchandise to a BB&B designated commercial laboratory to confirm the product continues
to meet the applicable specifications and law. All testing costs will be charged to vendor.

4. Vendor shall obtain and provide to BB&B (at Liberty Procurement Co. Inc., 650 Liberty Ave., Union, NJ 07083 Attention: Buyer
Name) any and ail registration numbers, license numbers, certifications, approvals or the like, required by any federal, state, local,
foreign, provincial or territorial governmental agency or authority having jurisdiction over the Merchandise, the sale of such
Merchandise, and/or any claims made regarding the Merchandise or any of its qualities.

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5. Prior to shipment, vendor shall register all chemical containing products, batteries, and products that use batteries with WERCS
Professional Services, LLC, (‘WERCS"), BB&B's third-party contractor that manages the regulatory compliance requirements for
chemical and battery containing products. In connection with the registration, vendor shall also furnish WERCS with an ANSI
Compliant 16-Section Material Safety Data Sheet or Safety Data Sheet as required pursuant to (i) the Occupational Safety and
Health Act (US) and any other federal, state, or local law, regulation or order and (ii) the Occupational Health and Safety Act
(Ontario) and any other Canadian federal, provincial or local law. A Material Safety Data Sheet or Safety Data Sheet shall also be
included with the first delivery of any Merchandise to each of BB&B's Stores. For more information regarding WERCS, refer to the
BB&B Quality Assurance Manual.

6. No terms or conditions in any acceptance, acknowledgment, invoice or other document submitted by vendor that are in conflict
with, different from, or in addition to these Terms and Conditions, nor any modification of the Order, shall be binding upon BB&B
unless agreed to in writing by a duly authorized representative of BB&B.

7. (a) An Order, when in the form of a written purchase order, shall constitute an offer on the part of BB&B upon these Terms and
Conditions and shall become a binding contract between BB&B and vendor upon vendor's acceptance of the Order by:
(1) signing one copy of the Order and returning it to BB&B or

(2) returning a signed written confirmation of the Order to BB&B; or

(3) delivering to BB&B, in accordance with the terms and conditions set forth in the Order, all or any part of the
Merchandise order; or

(4) allowing ten (10) days to lapse from the time the Order is received by vendor, and neither accepting the Order in

the manner indicated above nor giving BB&B written notice of rejection of the Order.
(b) An Order, when in the form of an EDI transmission, shall constitute an offer on the part of BB&B upon these Terms and
Conditions and upon any terms and conditions indicated in the EDI transmission and shall become a binding contract
between BB&B and vendor upon vendor's acceptance of the Order by:

(1) delivering to BB&B, in accordance with the terms and conditions as set forth in the Order, all or any part of the
Merchandise ordered; or

(2) electronically acknowledging receipt of the Order coupled with failure to reject the Order within two (2) business
days following its receipt; or

(3) allowing ten (10) days to lapse from the time the Order is received by Vendor, neither accepting the Order in the

manner indicated above nor giving BB&B written notice of rejection of the Order.

8. (a) BB&B may terminate an Order, or any part thereof, by notice to vendor under any of the following circumstances:
(1) If vendor fails to comply with any provisions of the Order.
(2) If vendor becomes insolvent or makes a general assignment for the benefit of creditors or files or has filed against
it a petition of bankruptcy or for reorganization, or pursues any other remedy under any other law relating to the
relief for debtors or in the event a receiver is appointed for vendor's property or business.

(3) lf BB&B receives notice of allegations of intellectual property infringement regarding the Merchandise contained in
the Order.

(4) lf BB&B receives notice, or otherwise determines, that the Merchandise is not in compliance with existing federal,
state or local laws and/or industry standards including, but not limited to, laws or standards governing product safety.

(5) If BB&B determines that the Merchandise does not comport with any of the warranties and representations set forth

in section 2 above.
In the event of such termination, in addition to all other rights and remedies BB&B may have at law, in equity or under these
Terms and Conditions, BB&B may purchase or manufacture similar Merchandise and/or require vendor to transfer title and
deliver to BB&B any and all property produced or procured by vendor under the Order, and vendor shall be liable to BB&B
for any excess cost to BB&B.

(b) In addition to BB&B’s right to terminate an Order for cause pursuant to Paragraph 8 (a) above, BB&B may terminate an
Order in whole or in part at any time upon notice to vendor. On receipt by vendor of such notice, vendor shall, to the extent
specified therein, stop work thereunder and the placement of work with subcontractors, terminate work under subcontracts
outstanding thereunder, and take any necessary action to protect property in vendor's possession in which BB&B has or
may acquire an interest. In such event, BB&B shall pay to vendor the amounts due for supplies delivered and accepted or
services completed in accordance herewith prior to the effective date of termination.

(c) Any termination by BB&B whether for cause or otherwise, shall be without prejudice to any claims for damages or other
rights of BB&B against vendor.

(d) Vendor shall continue performance of the Order to the extent not terminated.

9. BB&B shall have the right to refuse Merchandise not in accordance with specifications or industry standard, or which is different in
quality or quantity from that ordered, or which is shipped otherwise than as specified under the Order. BB&B may, at its sole discretion,
either return rejected Merchandise or hold same at vendor's risk and expense, and may, in either event, charge the vendor with the
cost of transportation, U.S. Customs duties and taxes, shipping, unpacking, examining, repacking, storing, reshipping and other like
expenses. If vendor fails to accept Merchandise returned by BB&B, then BB&B shall have the right to dispose of such Merchandise
by any means, including, but not limited to, processing pursuant to the BB&B “deduct and dispose” policy, sale “as-is” at a liquidation
price, donation or charity, depending on the condition of the Merchandise and to charge back Vendor in an amount equal to the cost
of the Merchandise. If within twenty-one (21) days after a request by BB&B for direction regarding disposition of rejected Merchandise,
vendor does not respond to BB&B, or fails to provide appropriate direction, BB&B shall have the right to dispose of the Merchandise
by any means, including, but not limited to, processing pursuant to the BB&B “deduct and dispose” policy, sale “as-is” at a liquidation
price, donation or charity, depending on the condition of the Merchandise and to charge back Vendor in an amount equal to the cost
of the Merchandise. Acceptance of any prior shipments contrary to the Order shall not be considered a waiver of BB&B’s right to

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return or dispose any or all of the merchandise and receive full credit therefore. Authorization for substitution of style, color, size,
quantity or a combination thereof, is permitted only upon the written, signed and dated consent of the BB&B buyer. Any claims for
defective Merchandise, shortages, returns, damages, or other claim or set off asserted as a result of vendor's failure to comply with
these Terms and Conditions made by BB&B will be charged back to vendor and the amount thereof deducted from payments to be
made to vendor or, alternatively, will be promptly refunded to BB&B.

10. BB&B may at any time after delivery of the Merchandise (and whether same has been inspected, accepted or tested by BB&B)
return all or part of the Merchandise if any part is found to be in a damaged or defective condition, and vendor shall refund to BB&B
in full the price paid by BB&B for such returned Merchandise together with any other charges identified herein. Any Merchandise so
returned shail be at vendor's risk and expense. BB&B may also return any Merchandise to the extent the circumstances set forth in
Section 8 (a) (3), (4) or (5) exist, and vendor shall refund to BB&B in full the price paid by BB&B for such returned Merchandise
together with any other charges identified herein. In addition, where entire shipments or significant portions of programs are found to
be in a damaged or defective condition, BB&B, in addition to any rights and remedies it may have under applicable law, including the
right to recover its lost sales, also reserves the right to charge vendor 20% of the cost of all such goods to offset expenses that may
arise from excess floor moves and customer dissatisfaction.

11. For any Merchandise (i) returned to vendor by BB&B; or (2) made or procured for BB&B but, for whatever reason, not delivered
to BB&B, which may be offered by vendor to third parties, Vendor shall remove any price tags, labels, stickers or other markings that
identify BB&B, as well as any BB&B trademarks, prior to offering such Merchandise for sale. In addition, BB&B retains the right
of prior approval of any distribution channel through which the vendor proposes to resell the Merchandise. BB&B further
retains the right of prior approval of the method of removal of all references to BB&B on the product or packaging.

12. The parties hereto agree that if vendor has represented that it will publicly advertise the Merchandise in accordance with a
proposed schedule and thereafter Vendor shall, without the prior written approval of BB&B, fail to advertise Merchandise in accordance
with such schedule, BB&B may return such Merchandise to vendor and may charge the vendor with the cost of transportation,
shipping, unpacking, examining, repacking, reshipping and other like expenses. Any claims for failure to advertise the Merchandise
in accordance with such schedule made by BB&B shall be charged back to vendor and the amount thereof deducted from payments
to be made to vendor or, alternatively, to be promptly refunded to BB&B. ANY ADVERTISING, PRESS RELEASE OR PUBLIC
STATEMENT THAT WILL USE ANY SERVICE MARK OF BB&B IS SUBJECT TO PRIOR WRITTEN APPROVAL OF BB&B, AS
FURTHER DESCRIBED IN THE BB&B VENDOR COMPLIANCE GUIDE.

13. BB&B reserves the right to deduct from any amount due vendor for Merchandise ordered any amount vendor owes BB&B with
respect to any claims of any nature whatsoever in favor of BB&B against vendor, whether or not related to the Order and whether
now existing or hereafter arising, and any assignee of the vendor's rights to payment hereunder shall be subject to BB&B’s rights
under this paragraph. BB&B may also, in its sole discretion, place a temporary hold on amounts due vendor in an amount equal to
the actual/estimated value of any allowance or rebate negotiated by the parties, including but not limited to any guaranteed sale or
markdown, in order to ensure the availability of funds to cover such allowance or rebate. Upon the release of such hold, any
invoice that had been included in the amount held shall, for purposes of aging and any applicable terms discount, be considered to
have been received by BB&B on the date the hold was released. BB&B shall be entitled to any terms discount agreed upon by the
parties for all such invoices, provided that the discount terms, as measured from the date of release of the hold, are met.

14. BB&B reserves the right to withhold any payments due Vendor or Buying/Selling Agent, without penalty or forfeiture, until all
disputes whether or not related to the Order and whether or not existing or arising in the future between BB&B and Vendor or
Buying/Selling Agent, are settled. In the event a legal action is filed against BB&B that relates to vendor's product, including but not
limited to actions alleging intellectual property infringement or personal injury or death, BB&B may place a hold on vendor's account
equal to BB&B's reasonable, good-faith estimate of its exposure for the claims alleged in the action, and may keep such hoid in
place, at its sole discretion, until the action is resolved or vendor posts adequate security for such exposure. BB&B may also, in its
sole discretion, place a temporary hold on amounts due Vendor in an amount equal to the actual/estimated value of any allowance
or rebate negotiated by the parties, including but not limited to any guaranteed sale or markdown, in order to ensure the availability
of funds to cover such allowance or rebate. Upon the release of such hold, any invoice that had been included in the amount held
shall, for purposes of aging and any applicable terms discount, be considered to have been received by BB&B on the date the hold
was released. BB&B shall be entitled to any terms discount agreed upon by the parties for all such invoices, provided that the
discount terms, as measured from the date of release of the hold, are met.

15. Vendor shall defend, indemnify and hold BB&B harmless against any and all alleged, actual or threatened liability, claim, loss or
damage arising in connection with the possession, handling, use, misuse, resale, labeling, marking or return of the Merchandise
ordered (and if the Merchandise shall include the sales of services, the provision of such services), including but not limited to (i)
actions for bodily injuries (including death) and/or loss or damage to tangible personal property; (ii) patent, copyright and trademark
infringement actions, or actions arising from vendor's breaching of its representations, covenants and warranties made herein. Vendor
shall defend every suit that may be brought against BB&B by reason of any of the foregoing, whether meritorious or not, and shall
pay all expenses and fees of counsel which shall be incurred in connection with such defense, together with all costs, damages and
profits recoverable in every such suit or settlement thereof. If vendor fails to take timely action to defend such a suit, BB&B may
defend such suit at vendor's expense. BB&B, in addition to any other rights, may forthwith cancel any unshipped portion of the Order
and return prior deliveries to vendor for payment or credit. With respect to any claims falling within the scope of the foregoing
indemnifications, vendor agrees to keep BB&B fully advised with respect to such claims and the progress of any suits. Additionally,
BB&B shall have the right to participate, at vendor’s expense, in any suit instituted against it, and to designate attorneys to defend it.
Any designated attorneys shall be independent of attorneys chosen by vendor relating to such claim or any related claim. Vendor is
not to settle, compromise or otherwise enter into any agreement regarding the disposition of any claim against BB&B without the

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written consent and approval of BB&B. For purposes of this paragraph, “BB&B” includes the companies’ respective successors,
assigns, officers, directors, employees and agents

16. Vendor consents to the jurisdiction of, and agrees that any suit, action or proceeding arising out of or in any way related to the
Merchandise shall be brought in either (i) the courts of the State of New Jersey or the United States District Court for the District of
New Jersey; or (ii) the courts of the State of New York or the United States District Court for the State of New York which are located
in the Borough of Manhattan. Vendor waives any objection it may have to the venue of any such controversy that is brought in the
aforementioned courts and waives any claim that any such controversy has been brought in an inconvenient forum. Vendor agrees
that, in the event of litigation between BB&B and vendor with respect to Merchandise, BB&B shall be entitled to recover reasonable
attorneys’ fees in the event it is the prevailing party on any claim or defense.

17. Time is hereby made of the essence of the Order. If delivery of Merchandise is not completed by the date set by BB&B, BB&B
reserves the right, without liability and in addition to its other rights and remedies at law, in equity or under the terms of the Order, to
purchase elsewhere and hold vendor liable for any additional cost incurred thereby, and any other loss, damage or expense incurred
thereby. Vendor shall pay any loss, cost, damage or expense resulting from the untimely receipt or lack of receipt of the Merchandise
ordered. Vendor shall notify BB&B immediately if it's unable to ship timely. BB&B shall have the right to refuse any goods untimely
delivered and to cancel the balance of the Order for any part of the goods due after untimely delivery of any installments. By accepting
the untimely delivery of any installment, BB&B shall not be bound to accept future shipments nor be deprived of its right to return
Merchandise already accepted nor to claim damages for untimely delivery.

18. BB&B shall have the right to require vendor to postpone shipment of Merchandise or suspend work covered by the Order and
vendor shall take all reasonable steps or minimize costs during such suspension. Equitable adjustment shall be made to the price,
delivery schedule or other provisions affected by the suspension, provided that the claim for equitable adjustment is made within thirty
(30) days after BB&B directs the continuation of the work.

19. Except as otherwise provided herein, and unless prohibited by statute, vendor shall pay any federal, state , provincial or local use
tax, transportation excise tax, or other tax which may be imposed in connection with the performance of the Order.

20. BB&B’s failure to insist on strict performance of any term or terms hereunder shall not constitute a waiver of any term or default
by vendor. Any waiver of any breach or default hereof shall not constitute a waiver by BB&B of any other or subsequent breach or
default of vendor.

21. The prices specified in the Order are not subject to any additional charges for packing or preparation for shipment or because of
increased costs of operation, or because of any taxes or excises levied on processors, manufactures, and wholesalers or otherwise.
The Order shall not, without written authorization from BB&B, be filled at higher prices than specified therein, or, if the Order is
unpriced, at prices higher than last charged or quoted to BB&B for Merchandise described therein. Vendor agrees that any price
reduction made in Merchandise described in the Order prior to the delivery of such Merchandise to BB&B shall be applicable to the
Order. Whenever price is dependent upon cubic density, such density shall be specified by vendor.

22. (a) BB&B acknowledges that it holds valid resale numbers in all states and provinces where BB&B is licensed to do business
(excluding states or provinces not recognizing sales for resale as sales tax exempt).
(b) Vendor shall furnish BB&B, when required by law, attention BB&B’s Tax Department, the appropriate exemption certificate
which shall be completed by BB&B and returned to vendor. BB&B’s “Blanket Resale Certificate” may be substituted by BB&B,
if permitted by law.

23. BB&B and vendor hereby expressly exclude the application of the United Nations Convention on Contracts for the International
Sale of Goods in its entirety to these terms and conditions and all transactions occurring hereunder unless otherwise expressly agreed
to in writing by BB&B and vendor.

24, (a) Under no circumstances may vendor use the name “Bed Bath & Beyond”, buybuy Baby, or Harmon or Harmon/Face Values
in any advertising or press release without the express written approval of the specific advertising or press release by the
BB&B Marketing Department.

(b) With respect to any vendor created advertising (including, without limitation, product photos, digital images, in store video,
digital video, and ad copy, referred to collectively as “Advertising Materials”) that vendor provides to BB&B for use by BB&B,
vendor hereby grants to BB&B the irrevocable, world-wide, royalty free right to use Advertising Materials in any medium, form
or fashion as BB&B deems appropriate, including the right to create derivative works thereof. BB&B agrees not to use
Advertising Materials in a manner that defames vendor or vendor's products and will make good faith efforts to comply with
Vendor's requirements for proper use of trademarks.

(c) With respect to any Advertising Material provided by vendor, vendor warrants and represents that: (i) the Advertising Material
does not infringe or violate any copyright, trademark, patent, trade secret or any other proprietary or other right of any third
party; (ii) the Advertising Material is not libelous (if vendor later iearns that the Advertising Material is libelous, vendor will
immediately inform BB&B; BB&B retains the right to immediately remove the Advertising Material upon receiving notice from
the vendor or a third party that the Advertising Material is libelous); (iii) the Advertising Material submitted, including any
advertising claims contained therein, is accurate and complies with ail applicable laws, regulations, and standards (if vendor
later learns that fact(s) contained within Advertising Material is (are) inaccurate, vendor will immediately inform BB&B; BB&B
retains the right to remove immediately the Advertising Material upon receiving notice from the vendor or a third party that any
fact(s) contained within Advertising Material is (are) inaccurate) and (iv) the Advertising Material contains no virus, mal-ware,
or other code that will affect BB&B’s computer system or the computer system of any user of the Advertising Material.

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25. Alcoholic Beverage Vendors Only. The relationship between BB&B and vendors supplying it with beer, wine, or other alcoholic
beverages may be governed in part by state alcoholic beverage law. To the extent the requirements of the Vendor Compliance Guide
directly conflict with state alcoholic beverage law, the latter controls.

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APPENDIX D — Contact Information

BED BATH & BE WINE

To assist you in directing your questions to the proper person or department, listed below is department contact

information.
Department Retail Concept Phone Number e-mail / Website Address
vendor@bedbath.com /
Ben Bath & | (908) 855-4780 | ‘htto:/Avww.vendor.bedbath.com and
Supply Chain y httos://partners.bedbath.com 650 Liberty Avenue
Performance / vendor@bedbath.com / Union. N 07083
Logistics / Traffic buybuy Baby (908) 855-4780 hitp:/Avww.vendor.bedbath.com/buybuybaby Attn: Su ly Chain Performance
and https://partners.bedbath.com De a rt Ye vt
VENDOR SUPPORT vendor@harmondiscount.com / P
Harmon (908) 855-4888 http:/Avww.vendor.bedbath.com/harmon and
https: //partners.bedbath.com
Oeyond & 650 Liberty Avenue
EDI Coordinator buybuy Bab (908) 855-4382 edimail@bedbath.com Union, NJ 07083
araon ¥ Attn: EDI Department
Bed Bath & | (908) 855- Con oes.
Beyond (buyer's ext) Deas -
Attn: Buying Office
: 650 Liberty Avenue
Co. Buying Office)" buybuy Baby aye rs ox) first.lastname@bedbath.com Union, NJ 07083
. ying y Attn: Buying Office
650 Liberty Avenue
Harmon tbuyors ext) Union, NJ 07083
¥ Attn: Buying Office
Bed Bath& | (908) 855-2145 Fo Bone
Beyond nion, NJ 07083
Attn: Vendor Relations Department
. 650 Liberty Avenue
yecounis Tayable buybuy Baby | (908) 855-4164 | Yendorrelations@bedbath.com Union, NJ 07083
Attn: Vendor Relations Department
650 Liberty Avenue
Harmon (908) 855-4232 Union, NJ 07083
Attn: Vendor Relations Department
Bed Bath & 650 Liberty Avenue
. Beyond Union, NJ 07083
UPC Coordinator buybuy Baby (908). 855-4780 vendor@bedbath.com Attn: Supply Chain Performance
Harmon Department
Bed Bath & See http:/Awww.vendor.bedbath.com and
Beyond https://partners.bedbath.com for updates
. See
Nore Ship buybuy Baby http:/Avww.vendor.bedbath.com/buybuybaby
and https://partners.bedbath.com_ for updates
Harmon See http:/Avwww.vendor.bedbath.com/harmon/
and https://partners.bedbath.com for updates
oSevond & 650 Liberty Avenue
Quality Assurance buybuy Bab (908) 855-5330 VendorQualityAssurance@bedbath.com Union, NJ 07083
Veaon ¥ Attn: Quality Assurance
Bed Bath &
Shelf Level Bevons..
Packaging/Labeling uyOuy Baby VendorPackagingQuestions@bedbath.com
Information
Harmon
Bed Bath &
Labels — Beyond W-Print
buybuy Baby Sandra Aguggia sandra. aguggia@wstudiocn.com
516) 582-5867
Harmon (616)
Bed Bath &
International Bed Beyond
Bath & Beyond buybuy Baby (908) 855-4780 vendor@bedbath.com
Locations Harmon
EA International alberto. m@eaintl.com
Bed Bath & Alberto Minoccheri
Beyond (718) 788-0304
Vinyl Bags buybuy Baby Imex Packaging sieffrey@imexvp.com
eve veenes
Harmon (704) 815-4600

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BED BATH & BEN@>INIE®

Uniplast Industries

Uniplast Industries

Andy Rupp 1-5 Plant Road
(201)288-4540 aru uniplastindustries.com Hasbrouk Heights, NJ 07604
ext.127
Hangers buybuy Baby Sourcing Solutions
International . . .
Robert Schlossberg Sourcing Solutions International
(201)244-8817 taschlossberg@ss-intl.com 195 North Washington Avenue
ext. 203 Bergenfield, NJ 07621
Bed Bath & Dri
Beyond Sandia Aguggia W-Print
(516) 582-5867 sandra.agugqgia@wstudiocn.com
Printers for . r-pac International Corporation
Packaging buybuy Baby pas international r-pac International Corporation 132 West 36th St., 7th Floor
(212) 1651818 alyson.lapidus@r-pac.com New York, NY 10018
ext. 234
Harmon
Bed Bath &
Beyond 650 Liberty Avenue
Marketing Buybuy Baby (908) 855-5477 marketing@bedbath.com Union, NJ 07083
Attn. Marketing Department
Harmon
973-256-0989 . 11 Taft Road
Harmon Warehouse Harmon fax: 973-256- harmon.vendor.warehouse@harmondiscount. | Totowa, NJ 07512
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